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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 ALI KARIMI, Individually and On Behalf of All            Case No. 22-cv-2854 (JSR)
 Others Similarly Situated,

                                          Plaintiff,      THIRD AMENDED CLASS ACTION
                                                          COMPLAINT FOR VIOLATIONS OF THE
                           v.                             FEDERAL SECURITIES LAWS

 DEUTSCHE BANK AKTIENGESELLSCHAFT,
                                                          JURY TRIAL DEMANDED
 JOHN CRYAN, AND CHRISTIAN SEWING,

                                      Defendants.


       Lead Plaintiff Yun Wang (“Lead Plaintiff”) and Named Plaintiff Ali Karimi (“Named

Plaintiff”), collectively referred to as “Plaintiffs,” individually and on behalf of all other persons

similarly situated, by Plaintiffs’ undersigned attorneys, for Plaintiffs’ complaint against

Defendants, allege the following based upon personal knowledge as to Plaintiffs and Plaintiffs’

own acts, and information and belief as to all other matters, based upon, inter alia, the investigation

conducted by and through Plaintiffs’ attorneys, which included, among other things, a review of

the Defendants’ public documents, conference calls and announcements made by Defendants,

United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press

releases published by and regarding Deutsche Bank Aktiengesellschaft (“Deutsche Bank AG,”

“Deutsche Bank,” or the “Bank”), analysts’ reports and advisories about the Bank, and information

readily obtainable on the Internet. Plaintiffs believe that substantial additional evidentiary support

will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all persons

and entities other than Defendants who purchased or otherwise acquired Deutsche Bank AG


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securities between March 14, 2017, and September 18, 2020, both dates inclusive (the “Class

Period”), seeking to recover damages caused by Defendants’ violations of the federal securities

laws and to pursue remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder, against the Bank and certain

of its top officials.

        2.       Deutsche Bank has been the subject of repeated scandals, investigations and

regulatory enforcements for years because of its anti-money laundering (“AML”) compliance

failures and deficiencies in its disclosure controls and procedures, causing it to have one of the

lowest gradings offered by the U.S. Federal Reserve. Despite claiming to have “learned” from its

missteps, to the chagrin of investors, Deutsche Bank’s misconduct continues, encouraged by the

failure to hold accountable those at the top.

        3.       As many publications have repeatedly acknowledged, it is rare for companies

settling allegations of misconduct to name the individuals responsible for those misdeeds—a

practice that perpetuates the myth that such acts were inadvertently committed by a faceless

institution and were not the consequences of decisions made by individuals in position of power.

When those individual wrongdoers bear no discernible consequences, the result is an astonishing

rate of recidivism, despite at nauseum promises that bad behavior won’t happen again. Neither

Deutsche Bank nor its top commanders have learned from past misconduct. At Deutsch Bank,

history keeps repeating itself.

        4.       Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Bank’s Know Your Customer (“KYC”) processes, a critical part of the

Bank’s AML procedures. For example, Defendants repeatedly assured investors that Deutsche

Bank has “developed effective procedures for assessing clients (Know Your Customer or KYC)




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and a process for accepting new clients in order to facilitate comprehensive compliance,” and

insisted that “[o]ur KYC procedures start with intensive checks before accepting a client and

continue in the form of regular reviews.” Defendants similarly claimed that its “robust and strict”

KYC program “includes strict identification requirements, name screening procedures and the

ongoing monitoring and regular review of all existing business relationships,” with “[s]pecial

safeguards . . . implemented for . . . politically exposed persons . . . ”

        5.      In truth, however, far from implementing a “robust and strict” KYC program with

“special safeguards” for politically exposed persons (“PEPs”) 1, Defendants repeatedly exempted

high-net-worth individuals (including people sponsoring terrorism) and PEPs from any meaningful

due diligence, enabling their criminal activities through the use of the Bank’s facilities. One

particularly egregious example of this misconduct was Deutsche Bank’s preferrential treatment of

notorious child sex abuser Jeffrey Epstein, who the Bank internally designated an “Honorary” PEP

because of the millions in fees and referrals he was generating for the Bank. Unscrupulously, even

after it learned that “40 underage girls had come forward with testimony of Epstein sexually

assaulting them,” Deutsche Bank’s Reputational Risk Committee agreed to keep Epstein as a client

and was “comfortable with . . . continu[ing] business as usual” with Epstein, “not[ing] a number

of sizable deals recently.” During the course of his relationship with Deutsche Bank, Epstein and

his related entities withdrew huge amounts of money and wired millions of dollars to his victims

for the stated purpose of covering hotel expenses, tuition and rent, and made payments to

individuals known to be his co-conspirators.




1
  Deutsche Bank is the entity with knowledge of which individuals it classified as PEPs. Indeed,
it specifically discusses PEPs on its website and in public filings. See e.g. ¶¶ 144, 159, 163, and
174.


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       6.      Deutsche Bank’s relentless pursuit of profits has been its modus operandi for years,

commencing with its former CEOs onboarding, retaining and servicing Russian oligarchs 2 and

other unsavory high-net-worth individuals and their affiliated companies.

       7.      When the truth about Deutsche Bank’s improper KYC practices emerged, Deutsche

Bank’s stock price plunged, wiping out hundreds of millions of dollars in market capitalization

and injuring hundreds of thousands of investors.

                                    JURISDICTION AND VENUE

       8.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       9.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

       10.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b), as the alleged misstatements entered and the

subsequent damages took place in this Judicial District. Pursuant to Deutsche Bank’s most recent

annual report on Form 20-F, as of December 31, 2019, there were 2,066,101,774 of the Bank’s

ordinary shares outstanding. Deutsche Bank’s ordinary shares trade on the New York Stock

Exchange (“NYSE”). Accordingly, there are presumably hundreds, if not thousands, of investors

in Deutsche Bank’s ordinary shares located within the U.S., some of whom undoubtedly reside in

the State of New York (“New York”). Additionally, upon information and belief, Deutsche Bank

and/or an affiliate or subsidiary of the Bank maintained an office at 60 Wall Street, New York, NY




2
 “Oligarch” means an individual known for his/her wealth and political influence, including but
not limited to the names identified in Exhibit A attached hereto.


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10005 during the Class Period. In addition, upon information and belief, Deutsche Bank and/or

an affiliate or subsidiary of the Bank had multiple offices throughout New York during the Class

Period.

          11.   In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                             PARTIES

          12.   Lead Plaintiff, as set forth in her Certification previously filed with the Court (see

Dkt. No. 18-3 at *10–*11), acquired Deutsche Bank securities at artificially inflated prices during

the Class Period and was damaged upon the revelation of the alleged corrective disclosures.

          13.   Named Plaintiff, as set forth in his Certification previously filed with the Court (see

Dkt. No. 1 at *34-*36), acquired Deutsche Bank securities at artificially inflated prices during the

Class Period and was damaged upon the revelation of the alleged corrective disclosures

          14.   Defendant Deutsche Bank is organized under the laws of the Federal Republic of

Germany, with principal executive offices located at Taunusanlage 12, 60325 Frankfurt am Main,

Germany. The Bank’s ordinary shares trade in an efficient market on the NYSE under the ticker

symbol “DB.”

          15.   Defendant John Cryan (“Cryan”) served as Deutsche Bank’s Chairman of the

Management Board and Chief Executive Officer (“CEO”) from July 2015 until April 8, 2018.

During his tenure, among other things he was responsible for Deutsche Bank’s Group Audit and

also took on responsibility for the Bank’s business in the Americas as of March 16, 2017.

          16.   Defendant Christian Sewing (“Sewing”) has served as Deutsche Bank’s CEO since

April 8, 2018. Sewing became a member of the Bank’s Management Board on January 1, 2015


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and was appointed President as of March 5, 2017. Since January 2016, he had been the Head of

Private, Wealth & Commercial Clients. Effective September 1, 2017, he was appointed Co-Head

of Private & Commercial Bank. As a member of the Management Board, he was responsible for

Legal, Incident Management Group and Group Audit.              Before assuming his role on the

Management Board, Sewing was Global Head of Group Audit (from June 2013 until February

2015) and held a number of positions before that in Risk, including Deputy Chief Risk Officer

(from 2012 to 2013) and Chief Credit Officer (from 2010 to 2012) of Deutsche Bank.

       17.     Defendants listed in paragraphs 15 to 16 above are referred to herein as the

“Individual Defendants.”

       18.     During the relevant time, Deutsche Bank’s Management Board was responsible for

managing the Bank, with its principal responsibilities including financial accounting and reporting,

risk management, and corporate control. During the Class Period, Deutsche Bank’s AML controls,

including KYC procedures, were overseen by the Management Board.                 Deutsche Bank’s

Management Board worked closely with the Bank’s Group Audit on internal controls, checking

and reviewing AML procedures, including “know your customer” processes.

       19.     The Individual Defendants possessed the power and authority to control the

contents of Deutsche Bank’s SEC filings, press releases, statements posted on the Bank’s official

website, and other market communications. The Individual Defendants were also provided with

copies of Deutsche Bank’s statements alleged herein to be misleading before or shortly after their

issuance and had the ability and opportunity to prevent their issuance or to cause them to be

corrected. Because of their positions with Deutsche Bank, and their access to material information

available to them but not to the public, the Individual Defendants knew that the adverse facts

specified herein had not been disclosed to and were being concealed from the public, and that the




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positive representations being made were then materially false and misleading. The Individual

Defendants are liable for the false statements and omissions pleaded herein.

       20.      Deutsche Bank and the Individual Defendants are collectively referred to herein as

“Defendants.”

                             THE CONFIDENTIAL WITNESSES

       21.      Confidential witness (“CW”) CW1 was a Compliance Officer at Deutsche Bank

from around mid-2007 to around mid-2015. In that position, among other matters s/he was

involved in identifying suspicious transactions, including money laundering and other AML/KYC

violations. S/he also oversaw the filings of Suspicious Activity Reports (“SARs”).

       22.      CW2 worked for Deutsche Bank from May 2004 to June 2019, including from 2018

as the assistant to the Head of Anti-Financial Crime (“AFC”) for the Americas. S/he reported to

the Head of AFC for the Americas, Richard Weber.

       23.      CW3 worked for Deutsche Bank from February 2018 to January 2020 as a Vice

President/AFC Principal Auditor for Sanctions and Embargoes, which was part of Deutsche

Bank’s Group Audit. In that position, s/he conducted audits on Deutsche Bank’s deficiencies in

AML processes, including AML violations.

       24.      CW4 worked for Deutsche Bank from January 2017 to January 2020 as a Vice

President/Principal Auditor for AML, Anti-Fraud, Bribery and Corruption. CW4 reported to the

Director/Principal Audit Manager for AFC, who reported to the Managing Director of Group

Audit. CW4 worked on an AFC Audit team for AML, Bribery and Corruption, conducting audits.

       25.      CW5 worked for Deutsche Bank from around mid-2015 to mid-2018 as a Vice

President of Group Audit, reporting among others to Managing Director/U.S. Head of Audit Ian

Overton. Overton reported to Global Head of Group Audit Mark Cullen. CW5 worked closely

with Director Silke Fellner out of Frankfurt to compile audit data. CW5 was part of the Business


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Management team within Internal Audit, also known as Group Audit. One of his/her main tasks

included facilitating and coordinating requests from Deutsche Bank’s regulators. S/he also helped

create monthly reports for the Federal Reserve with updates on the Bank’s audit plan and open

audit issues.

       26.      CW6 worked for Deutsche Bank from August 2017 to October 2020 as a Vice

President/Head of AFC Risk Analysis. S/he worked on SARs, writing reports about suspicious

transactions. S/he was in charge of an AFC Risk Analysis function that identified risks facing the

Bank concerning its major banking clients and other risky clients.

       27.      CW7 worked for Deutsche Bank from 2007–2017 in various roles. Between 2013

and 2017, s/he worked in Internal Audit – Wealth Management and Asset Management. CW7

conducted audits, including AML audits, of the Wealth Management and Asset management

divisions.

       28.      CW8 worked for Deutsche Bank from May 2018 to March 2020 as a KYC Case

Manager and an AML and Business Risk Associate. CW8 worked specifically on building case

files for Private Wealth Management clients, and s/he also reviewed and provided final approval

on KYC cases in the Wealth Management division. CW8 worked with high-net-worth clients

during their onboarding process and also with existing high-net-worth clients.

       29.      CW9 was an AML Financial Crime Investigations Analyst from May 2016 to

February 2019. CW9 reported to the Vice President of AFC, who in turn reported to the

Director/Head of the Financial Crime Investigations Division. CW9 conducted investigations on

“everything under the sun,” including reviewing transactions for money laundering and terrorist

financing. CW9 also wrote SARs.




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           30.   CW10 was an AFC, AML Officer for Wealth Management clients from December

2018 until August 2019. S/he reported to the AFC Team Manager for Deutsche Bank Wealth

Management. CW10’s job entailed oversight of New Client Adoption and KYC processes, a

review process for high-risk clients 3 and clients requiring further scrutiny, who posed risks of

financial crimes, including money laundering and terrorist funding. CW10 also screened PEPs.

           31.   CW11 worked for Deutsche Bank from June 2016 to October 2018 as a Senior

KYC Risk Analyst. CW11 conducted due diligence on new clients as part of the onboarding

process and reviewed information from high-net-worth clients and PEPs.

                               SUBSTANTIVE ALLEGATIONS

    I.     THE IMPORTANCE OF AML/KYC PROCEDURES

           32.   Many recent financial crimes and AML scandals have left deep scars on Deutsche

Bank’s reputation, once the world’s largest financial institution by assets. The scandals and

investigations continue, with the Bank being investigated by the Federal Bureau of Investigation,

the Justice Department’s Money Laundering and Asset Recovery Section in Washington and the

United States Attorney’s offices in Manhattan and Brooklyn, to name just a few. During the Class

Period, the Bank failed to comply with KYC procedures, a crucial component of any bank’s AML

efforts.

           33.   As Linda Lacewell, the Superintendent of the New York State Department of

Financial Services remarked, “[b]anks are the first line of defense with respect to preventing the

facilitation of crime through the financial system, and it is fundamental that banks tailor the




3
  Deutsche Bank is the entity with knowledge of which individuals and entities it considers high-
risk.


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monitoring of their customers’ activity based upon the types of risk that are posed by a particular

customer.”4

        34.     As a regulated financial institution, Deutsche Bank is required to have adequate

AML safeguards in place, and to devise and implement systems reasonably designed to identify

and report suspicious activity and block transactions prohibited by law. In addition to having

effective AML controls in place, it is also necessary for Deutsche Bank to monitor its customers

for the purpose of preventing them from facilitating criminal activity using the Bank’s facilities.

Accordingly, KYC due diligence is critically important. Deutsche Bank is required to collect

customer information at the time of establishing new relationships with clients and during the

existence of the relationship, including, as necessary, to carefully and thoroughly assess the risks

associated with its clients.

        35.     To properly consider these risks, Deutsche Bank must consider relevant factors

such as the nature of the client’s business, the purpose of the client’s accounts, the recipients and

beneficiaries of bank transfers, and the nature of the client relationship.       Deutsche Bank’s

obligation to conduct adequate due diligence is ongoing and does not abruptly end upon

onboarding a client. The Bank must conduct robust KYC reviews for each client relationship at

intervals commensurate to the AML risks posed by the client, including reviewing account activity

to determine whether such activity may facilitate crimes and threaten the Bank’s reputation. Each

client’s AML risks should also be re-assessed if material new information or unexpected account




4
 Press Release, The New York State Department of Financial Services, Superintendent Lacewell
Announces DFS Imposes $150 Million Penalty on Deutsche Bank in Connection with Bank’s
Relationship with Jeffrey Epstein and Correspondent Relationships with Danske Estonia and
FBME Bank, First Enforcement Action by a Regulator Against a Financial Institution for Dealings
with Jeffrey Epstein (July 7, 2020),
https://www.dfs.ny.gov/reports_and_publications/press_releases/pr202007071.


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activity is identified. Deutsche Bank must also establish criteria for determining when a client

relationship poses too high of a risk and therefore must be terminated. Financial institutions are

liable under applicable laws if they maintain such relationships despite repeated indications of

facilitating improper transactions.

       36.     In short, if a bank decides to conduct business with a high-risk client, that institution

is required to conduct robust due diligence commensurate with that risk and to tailor its transaction

monitoring to detect suspicious or unlawful activity based on what the risk is. Deutsche Bank

failed to do so for its high-net-worth clients and PEPs.

       37.     Moreover, under the Bank Secrecy Act, financial institutions are required to assist

U.S. government agencies in detecting and preventing criminal activities by, among other things,

reporting suspicious activity that might signal money laundering or other crimes. Those reports

are commonly referred to as Suspicious Activity Reports.

       38.     While Deutsche Bank classified some clients as high-risk or PEPs, who would have

been subject to extensive and particularly robust KYC procedures, unbeknownst to investors it

chose to give them preferential treatment, by onboarding and retaining them as clients without

appropriate due diligence and in utter disregard of the significant reputational risks they posed to

the Bank.

       39.     For example, with respect to notorious financier and repeat child sex offender

Jeffrey Epstein, Deutsche Bank elected not to scrutinize the activity in his accounts for the kinds

of activities that were obviously implicated by his past. Deutsche Bank was well aware not only

that Epstein had pled guilty and served prison time for engaging in sex with a minor, but also that

there were public allegations that he abused over 40 girls and that his conduct was facilitated by

several named co-conspirators. Despite this knowledge, Deutsche Bank did little or nothing to




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inquire into or block numerous payments Epstein made to known named co-conspirators using his

Bank accounts, did little or nothing to inquire into or block payments to numerous young girls he

lured into prostitution, and did little or nothing to inquire how Epstein was using, on average, more

than $200,000 per year in cash.5

          40.       To profiteer from the fees and referrals generated by Epstein, Deutsche Bank

continuously allowed Epstein to use the Bank’s services to cover up old crimes and to facilitate

new ones—a major compliance failure and reputational stain on the Bank. 6

          41.       Deutsche Bank’s white-glove treatment of Epstein is just one example of how

powerful, rich clients of Deutsche Bank were permitted to use the Bank’s accounts and services to

commit crimes, with impunity.

II.       THE IMPORTANCE OF MANAGING REPUTATIONAL RISK

          42.       “Our reputation is our most valuable asset” – the Bank has repeatedly told

investors.7     The Bank acknowledged that its reputation “is founded on trust from its . . .

shareholders, regulators and from the public in general” and that even “[i]solated events can

undermine that trust and negatively impact Deutsche Bank’s reputation.” 8 Accordingly, Deutsche


5
  New York State Department of Financial Services, Consent Order Under New York Banking
Law §§ 39 and 44 (July 6, 2020), at ¶¶ 35, 56 (emphasis in original),
https://www.dfs.ny.gov/system/files/documents/2020/07/ea20200706_deutsche_bank_consent_o
rder.pdf, (hereinafter “Consent Order”).
6
    See id. ¶ 57.
7
   See, e.g., Matthew Goldstein, Deutsche Bank Settles Action Over Epstein, N.Y. Times, July 8,
2020, at B.1; see also Matthew Goldstein and David Enrich, Regulators May Punish Deutsche
Bank for Its Jeffrey Epstein Ties, N.Y. Times (June 2, 2020),
https://www.nytimes.com/2020/06/02/business/jeffrey-epstein-deutsche-bank.html (stating that
“Daniel Hunter, a Deutsche Bank spokesman, said the bank regarded its reputation as its ‘most
precious asset.’ ‘We regret the decision to associate with Epstein,’ he said.”).
8
 Deutsche Bank, Responsibility, Reputational Risk Management,
https://www.db.com/cr/en/concrete-management-of-reputational-risks.htm (last visited Feb. 27,
2021).


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Bank consistently underscored that it “is therefore of the utmost importance that [its reputation] is

protected.”9

          43.   With this mantra in mind, Deutsche Bank acknowledged that ignoring AML

requirements would expose the Bank to corporate criminal or regulatory liability, civil lawsuits,

and/or a loss of reputation. To that end, the Bank acknowledged that assessing and understanding

client-related financial and other crimes was a critical component of its risk management

framework and that conducting appropriate due diligence on its customers was necessary to

safeguard the Bank’s reputation.

          44.   During the Class Period, Deutsche Bank represented to investors that it applied the

highest standards of AML processes in order to avoid being misused for money laundering,

terrorist financing, or other illegal purposes, and to protect its reputation. To that end, Deutsche

Bank repeatedly assured investors that it was implementing a strict group-wide KYC program that

ensured that its customers were adequately identified and monitored. This robust process

supposedly included comprehensive due diligence in the form of regular reviews of all existing

business relationships.

          45.   Deutsche Bank understood and represented to investors that effective action against

financial crime relies on sufficient and up-to-date information on client relationships, and that

rigorous KYC safeguards and procedures are critical to protect the Bank’s reputation. The Bank

further affirmed that special safeguards were implemented for business relationships with PEPs

and clients from countries and industries deemed high risk. PEPs pose a heightened risk because

they are in positions that can be potentially abused for money laundering and other crimes.




9
    Id.


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       46.     In reality, however, Deutsche Bank repeatedly retained and serviced profitable

clients, regardless of their heightened risks. What’s more, it failed to subject its most risky clients

to any due diligence, let alone the type of robust due diligence it was publicly touting. Deutsche

Bank repeatedly put the pursuit of profits above its responsibilities to safeguard against financial

and other crimes, and repeatedly traded its reputation for profits.

III.   UNBEKNOWNST TO INVESTORS, DEUTSCHE BANK KNOWINGLY
       ONBOARDED AND RETAINED HIGH-RISK INDIVIDUALS REPORTEDLY
       ENGAGED IN CRIMINALITY

       A.      Deutsche Bank Onboarded and Serviced High-Risk Clients Without Any
               Meaningful Due Diligence and With the Approval and Consent of Its Top
               Echelon

       47.     CW1 explained that at Deutsche Bank, as a general rule the more notorious a person

becomes, the higher up the corporate ladder any decision-making process will be taken. According

to CW1, in the case of really notorious Russian oligarchs and the like – the onboarding and retainer

of such clients only happened with the approval of the highest-level authorities: the CEO, the COO,

and Deutsche Bank’s Board. Epstein, in particular, was discussed at Deutsche Bank’s Board level.

To understand this phenomenon, it bears providing some context, particularly into Deutsche

Bank’s relationship with Russia.

       48.     Deutsche Bank was introduced – at a very high level – to Russian oligarchs through

a little-known Russian government body set up in 1994. In 1994, Russia set up the Foreign

Investment Advisory Council (“FIAC” or “Council”), a consultative forum for foreign businesses

and the Russian government to meet and discuss economics and the business world. According to

the FIAC’s constitution, the Council is chaired by the Russian Prime Minister. In practice,

however, it has been the Russian First Deputy Prime Minister who has spent the greatest amount

of time attending to the affairs of the Council.




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       49.     Deutsche Bank was one of the earliest members of the Council, with former

Deutsche Bank CEO Josef Ackermann himself being a member of the Council since at least 2010.

For many years Deutsche Bank was the only banking company on the Council. According to

CW1, serving on the Council carries considerable prestige: for Ackermann, this prestige was

boosted by several personal meetings with Russian president Vladimir Putin.10        Following

Ackermann’s retirement, Juergen Fitschen, the Bank’s co-CEO from 2012 to 2016, attended

Russian FIAC meetings on behalf of Deutsche Bank. The Russian government website carries a

speech delivered by Fitschen to the FIAC in 2013, and it certainly shows that Deutsche Bank saw

the Council as a serious undertaking. 11

       50.     According to CW1, Ackermann boasted that Council membership provided

Deutsche Bank with “enormous opportunities” as it gave him access to the highest levels of

Russian businessmen and politicians. Ackermann also boasted that he was “well on his way to

getting a Russian diplomatic passport.”

       51.     CW1 explained that Ackermann approved the onboarding of many high-risk

Russian oligarchs and PEPs, without having performed any due diligence. Those individuals

posed significant money laundering and reputational risks for the Bank and should have never

been onboarded or maintained as clients. As explained below, public records demonstrate these

individuals had clearly violated compliance and AML guidelines before they were onboarded.

       52.     CW1 also explained that Deutsche Bank typically does not conduct due diligence

on high-net-worth clients. For example, in the case of oligarchs and other high-net-worth


10
   Press Release, Government of the Russian Federation, the Executive Branch, Prime Minister
Vladimir Putin meets with Deutsche Bank CEO Josef Ackermann (Sept. 2, 2011),
http://archive.government.ru/eng/docs/16346/.
11
  The Russian Government, The 27th session of the Foreign Investment Advisory Council in
Russia (Oct. 21, 2013), http://government.ru/en/all/7646/.


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individuals such as Roman Abramovich and Vitaly Yusufov (discussed below), the onboarding

took place in seconds. Likewise, CW1 said no due diligence was conducted on Epstein.

        53.     Epstein himself had several connections with Russia, and they explain at least in

part how Epstein was welcomed aboard by Deutsche Bank. Epstein reportedly boasted to at least

one journalist that he had flown to Russia on a number of occasions to meet with Vladimir Putin. 12

Epstein is also linked to Russia through his former girlfriend’s father. Epstein’s former girlfriend,

Ghislaine Maxwell, is the daughter of the late publisher Robert Maxwell. Robert Maxwell was a

business associate of Semion Mogilevich, a reportedly notorious Russian mobster 13 with many

links to politicians in Russia. Mogilevich is known to have been involved in prostitution. 14

Ghislaine Maxwell is accused of recruiting women, many of them Russian, to prostitute

themselves to Epstein. While her father was alive, Ghislaine held numerous positions in his

publishing companies and had access at high level to many politicians and Russian oligarchs. As

described below, Epstein’s accounts at Deutsche Bank record a large number of suspicious

payments to Russia and Eastern Europe in general, including to several of his co-conspirators and

to young girls, who were the victims of Epstein’s sexual abuse or otherwise lured by Epstein into

prostitution.




12
   Lottie Tiplady-Bishop, Jeffrey Epstein boasted about ‘flying to Moscow to visit Vladimir
Putin’ as secrets behind his millions are revealed, the Sun (July 19, 2020),
https://www.thesun.co.uk/news/12165850/jeffrey-epstein-boasted-putin-millionaire-secrets/.
13
  Wikipedia, Semion Mogilevich, https://en.wikipedia.org/wiki/Semion_Mogilevich (last visited
Feb. 27, 2021); Nina Burleigh, With Jeffrey Epstein Dead, the Search Is on for Alleged Recruiter
Ghislaine Maxwell, RollingStone (Aug. 15, 2019), https://www.rollingstone.com/culture/culture-
features/jeffrey-epstein-ghislaine-maxwell-recruiter-history-871182/.
14
  Wikipedia, Semion Mogilevich, https://en.wikipedia.org/wiki/Semion_Mogilevich (last visited
Feb. 27, 2021).


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       54.     CW1 explained that once the CEO of Deutsche Bank introduces a client, it is very

hard for a manager to turn that person away, so the relationships continued during the Class Period

even under a change of guard with a different CEO. All final decisions regarding AML compliance

were made by Deutsche Bank, even when misconduct occurred at one of its subsidiaries. Thus,

any requests from government monitors regarding compliance at a U.S. subsidiary, for example,

had to be cleared by Deutsche Bank. Even if the monitors asked the U.S. subsidiary for something,

the subsidiary had to defer to Deutsche Bank. Deutsche Bank’s Reputational Risk

Committee/Group Risk Committee overturned decisions by the U.S. Reputational Risk

Committee, with Deutsche Bank’s CEO’s involvement.

       55.     In one particular instance during the Class Period around April 2018, the U.S.

Reputational Risk Committee had blocked the sale of Deutsche Bank’s stake in an office complex

to a controversial Russian PEP, Vitaly Yusufov, whose father Igor Yusufov, the former Russian

Energy Minister, was a Bank client. According to CW1, it was common knowledge within

Deutsche Bank that German prosecutors were probing money laundering – and possibly murder –

by Igor Yusufov and his partners. 15      This was widely reported on by reputable German

publications. The U.S. Reputational Risk Committee was overruled by the Group Risk Committee,

and the deal went through – even though Deutsche Bank’s U.S. operation filed a suspicious activity

report on itself. According to CW1, Defendant Cryan personally got involved in the decision to

allow the sale of the Silicon Valley property. This is yet another illustration of Deutsche Bank’s




15
  Douglas Busvine and Simon Falush, Insight – Russian bid for UK refinery brings controversy,
Reuters (June 15, 2012), https://www.reuters.com/article/uk-britain-russia-refinery/insight-
russian-bid-for-uk-refinery-brings-controversy-idUKBRE85E0DM20120615; see also Anastasia
Kirilenko, Why is the West So Weak When It Comes to the Russian Mafia?, Free Russia (May 16,
2016),       https://www.4freerussia.org/why-is-the-west-so-weak-when-it-comes-to-the-russian-
mafia/.


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CEOs personally interfering and approving transactions benefitting wealthy clients despite their

illicit connections and activities.

        56.     Vitaly Yusufov also bought a $72 million mansion in California in a transaction

through Deutsche Bank. The mansion was acquired by Vitaly Yusufov’s Willow Project LLC in

May 2018 but the Bank only announced it to U.S. supervisory authorities much later in 2019, and

did not immediately decide to approve the deal. Vitaly Yusofov was recognized as a politically

significant person and the Bank’s reputational risk committee considered the deal and noted the

danger of increased sanctions against Russia and refused the transaction. The Bank’s global

committee appealed the decision and while the head of the Bank’s U.S. branch, Richard Weberan,

opposed the sale of the house, most of the votes approved the deal. Son of Former Russian Energy

Minister Buys $72mn California Mansion, Russia Business Today (November 4, 2019),

https://russiabusinesstoday.com/economy/son-of-former-russian-energy-minister-buys-72mn-

california-mansion/.

        57.     CW2 similarly explained that the Head of AFC for the Americas, Richard Weber,

was routinely overruled by Deutsche Bank’s Board in Frankfurt. Specifically, Weber would say

“no” to onboarding specific new clients or approving loans to suspicious individuals or entities,

but Deutsche Bank’s Board would still approve the new clients and loans despite Weber’s

objections. “Issues would come up—red flags all over the place—and the board would approve it

[anyway]. They turned a blind eye to everything,” said CW2. During the Class Period, Cryan and

Sewing were members of the Bank’s Board.

        58.     Another example demonstrates Deutsche Bank’s executives’ familiarity with the

Bank’s handicapped KYC processes. Cryan, for example, became personally involved with a 2016

SAR filed by Bank of America on Deutsche Bank. Bank of America filed the SAR out of concerns




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that Deutsche Bank’s KYC procedures were not robust and permitted money laundering. Bank

of America informed the government that certain transactions facilitated by Deutsche Bank

involved the “suspicious designation of beneficiaries” and “suspicious EFT/wire transfers.” The

SAR specifically mentions Defendant Cryan, as well as Paul Achleitner, the Chairman of Deutsche

Bank’s Supervisory Board, having interacted with Bank of America on the matter.

       59.     According to CW1, Deutsche Bank engaged in other practices designed to actively

circumvent AML rules. CW1 observed that with regards to sanctioned persons and companies, it

was standard practice at Deutsche Bank to circumvent sanctions. To evade these rules, the persons

or companies that had been sanctioned would be onboarded by Deutsche Bank in a country where

they were not sanctioned. For example, if a Russian individual was sanctioned in the United States,

Deutsche Bank would onboard that client in Germany. This person would then be permitted to

conduct business in the United States by setting up a company in the United States as a proxy.

This company would in turn transact business with Deutsche Bank. Deutsche Bank USA would

not perform KYC diligence on the company – such due diligence would be a waste of resources,

as the client had already been onboarded.

       60.     Another witness, CW3, recounted that during the Class Period, there were critical

audit findings in three different areas showing that Deutsche Bank’s AML processes were

deficient. First, CW3 explained that one critical AML deficiency identified by the audits was that

the Bank was “not going through the right protocols to onboard” clients, specifically high-net-

worth, Wealth Management clients. The clients were not vetted properly or as seriously as

required. CW3 said that the decision-makers in Germany were “more interested in bringing in the

accounts than doing everything they should be doing in vetting people.”




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       61.     CW3 explained that another critical audit finding was that the Bank was working

with companies or other clients that were sanctioned in the United States and also transacting in

the United States. Deutsche Bank got around the sanctions issues by onboarding those clients in

other countries.

       62.     CW3 stated that another critical audit finding was that Deutsche Bank was engaging

in “wire stripping.” CW3 described the practice as a “type of money laundering” in which the

Bank allowed high-net-worth individual clients and corporation clients to wire funds, for example,

in the United States, indirectly through other countries in order to avoid sanctions and avoid being

traced. This was done in part by removing the actual name of the sanctioned individuals and

entities from a wire transfer and by replacing it with a “fictitious” or “straw company” name. CW3

said the “wire stripping” occurred at least with several princes from the Middle East, including

princes from Iran and Iraq, who would have been on the U.S. sanctions list. CW3 personally saw

that wire stripping occurred repeatedly.

       63.     CW3 explained that Deutsche Bank’s Global Head of Audit Group and Chief

Auditor Max Ng was aware of the three improper practices described above because he received

regular updates on the status of the audits that identified those practices. According to CW3, “Max

was copied on every audit report that went out,” including the audit report identifying the three

critical deficiencies, and other senior management in Germany also participated in conference calls

several times a week, receiving the audit updates. And, according to CW1, Max Ng would have

reported any audit shortcomings to Deutsche Bank’s CEO. CW1 added that Ng was also known

to be a close ally of Defendant Sewing.




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       64.     CW3 explained that the three critical audit violations described above continued to

occur into 2019 and at least until s/he left the Bank in January 2020. The auditors specifically

found “proof of [AML] violations” and the audits produced findings labeled “Unsatisfactory.”

       65.     CW4 also recounted that during his/her employment with the Bank, an audit of the

Bank’s Enhanced Due Diligence (“EDD”) research and reporting process found that the EDD

reports lacked key details and supporting files – such as the outcome of a client that was found to

be under investigation. The EDD deficiencies were occurring specifically with the Bank’s Wealth

Management clients. CW4 said that the deficiencies were described in an audit report finalized

in mid-2019. CW4 further explained that in a previous EDD audit conducted in 2017, auditors

found cases highlighting similar deficiencies with the Bank’s Wealth Management and Asset

Management divisions. In one example, an EDD report stated that an Israeli client of the Bank

was under a civil tax investigation when, in fact, the company was under a criminal investigation.

CW4 explained that all final audit reports, including those described above, were signed off on by

the Managing Director/Group Audit, and that all audits resulting in “Unsatisfactory” findings were

sent to the Bank’s Managing Director/Global Head of AFC and Group AML Officer Philippe

Vollot (“Vollot”).

       66.     In a similar vein, CW5 recalled that during his/her tenure at Deutsche Bank,

including in 2017 and 2018, there were numerous “critical audit findings” related to improper

KYC and customer due diligence practices when dealing with high-net-worth clients. The findings

showed that the Bank lacked appropriate documentation for its high-net-worth clients and also

failed to identify and trace the source of wealth for high-net-worth clients. CW5 knew about the

critical audit findings because s/he personally had access to a dashboard showing these findings.

The findings were labeled by severity and by business within the Bank, and the dashboard “had




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details of every critical finding open.” CW5 explained that Deutsche Bank’s Global Head of

Group Audit, who from March 2015 to November 2018 was Mark Cullen, had access to the

dashboard with details about the Bank’s critical audit findings. According to CW5, during the

relevant time Cullen reported directly to Defendant Sewing. CW5 also explained that in addition

to Cullen, Steve Morcombe, the Director of Deutsche Bank’s Group’s COO Asset & Wealth

Management Technology Office, also had access to the dashboard.

       67.      CW6 recounted that his/her team frequently presented concerns about the sources

of funds of oligarchs who were the Bank’s clients, and about their questionable business practices

during Risk Identification Forums (“RIF”), up to and including October 2020. Some of the

oligarchs were listed on the U.S. Department of Treasury’s list of designated Russian oligarchs.

The RIFs were attended by Jeffrey Harwin, Head of AFC Americas, Deutsche Bank’s most senior

AML person in the United States, and other senior Compliance and business line executives.

Timothy McNeil, a Managing Director of AFC, attended the RIF meetings. Carmel Speers, the

London-based Head of Business Line AFC for Deutsche Bank, attended the RIF meetings by

teleconference. Nicholas Joseph, the Global Head of the AFC Evaluation Team and leader of the

Business Line Advisory, AFC Global Head of Client Intelligence Unit, also received information

from CW6’s team concerning reviews CW6 and his/her team conducted in connection with the

RIF meetings.

       68.      Another witness, CW7, explained that with respect to bringing on new clients who

were extremely wealthy (net worth of at least $15 million), “as long as we were able to make the

bank money, the client was going to come on board regardless. It didn’t really matter that you

didn’t think they should be a client. If they were going to generate funds, they were going to be a




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client. And once they’re in, they’re in. That’s it.” CW7 did not recall the Bank’s Wealth

Management division ever turning away a client.16

           69.   Reuters also reported, based on two Deutsche Bank internal confidential reports of

the Bank’s KYC processes and procedures dated June 5 and July 9, 2018 (which Reuters reviewed)

that the Bank’s KYC processes were severely deficient during the Class Period. 17 The reports

detailed the results of tests on a sample of the Bank’s customer files in several countries. 18

           70.   In the 13-page June 2018 report, for example, Deutsche Bank assigned itself a pass

rate of zero percent in countries such as Russia, Ireland, Spain, Italy and South Africa when it

checked how client files had been processed. The pass rate measures the percentage of files that

meet the Bank’s KYC standards. According to the reports, Deutsche Bank strives for 95%

(roughly in line with other global banks). Reportedly, Defendant Sewing was aware of the KYC

infirmities and supposedly “vowed” to address the undisclosed weaknesses in the Bank’s

controls.19

           71.   Deutsche Bank gave the June report to the European Central Bank (“ECB”). The

Bank’s executives met with the ECB in late July 2018 to discuss the June report and the Bank’s

control procedures.20



16
  Deutsche Bank Wealth Management comprises the Deutsche Bank Wealth Management-U.S.
division of Deutsche Bank. See, e.g., Deutsche Bank Wealth Management, 2021 Important note
regarding     client    privacy,      available    at     https://deutschewealth.com/content/
dam/deutschewealth/docs/DBWM_Privacy-Notice_Jan2021_FINAL.pdf.
17
  Deutsche Bank reports show shortcomings in its customer screening process, Reuters (Aug. 3,
2018),      https://www.cnbc.com/2018/08/03/deutsche-bank-reports-show-shortcomings-in-its-
customer-screenings.html#:~:text=Deutsche%20Bank%0has%20uncovered%20shortcomings,
2017%20for%20allowing%20money%20laundering.
18
     Id.
19
     Id.
20
     Id.


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           72.    In a written public response to Reuters, Deutsche Bank flatly denied that its KYC

processes were not effective and doubled-down on its continued misrepresentations that “Our

procedures to identify potential anti-money laundering and KYC risks are very effective,” saying

of its group-wide controls.21

           73.    Additionally, Hinrich Völcker, who previously served as the Global Head of

Financial Crimes Investigations for Deutsche Bank, and Vollot, were asked to investigate high risk

entities that held accounts at Deutsche Bank and present their findings to the Supervisory Board.

Their nine-page presentation was shared in 2018 with the audit committee of the Supervisory

Board. The pair identified numerous high-risk entities. They included 1,244 in the US, 329 in the

UK and 950 in Germany. These entities were responsible for nearly 700,000 transactions, the

report says, involving at least £62m in the UK, $47m in the US, and €55m in Germany. 22

           74.    Defendants’ misconduct in issuing the false and misleading assurances about the

Bank’s supposedly strict and robust KYC procedures is particularly egregious also in light of the

fact that Defendants were aware that Deutsche Bank’s KYC procedures were strikingly deficient

and improper. On January 30, 2017, as part of a settlement agreement, the U.K. Financial Conduct

Authority (“Authority”) fined Deutsche Bank for permitting billions of dollars in laundered money

to occur through the Bank’s facilities.23 The settlement agreement between the Authority and

Deutsche Bank also discussed a separate assessment by the Authority of Deutsche Bank’s AML

processes.24 That assessment commenced in 2015 and “found serious deficiencies in Deutsche


21
     Id.
22
   Luke Harding, Deutsche Bank faces action over $20bn Russian money-laundering scheme, The
Guardian (April 17, 2019), https://www.theguardian.com/business/2019/apr/17/deutsche-bank-
faces-action-over-20bn-russian-money-laundering-scheme
23
   Financial Conduct Authority, January 30, 2017 Final Notice to Deutsche Bank AG, available
at https://www.fca.org.uk/publication/final-notices/deutsche-bank-2017.pdf.
24
     Id. ¶¶ 4.44-4.45.


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Bank’s AML control framework and serious CDD [customer due diligence], EDD [enhanced due

diligence], and ongoing monitoring failings.”25 These findings were based on the Authority’s

review of a sample of customer files and interviews of numerous Deutsche Bank personnel. 26

           75.      Specifically, the Authority found that “[a]ll of the medium and low risk files

reviewed during the SAMLP [the Authority’s Systematic Anti-Money Laundering Programme]

had inadequate CDD, including: missing identification and verification documents; inadequate

information about UBOs [ultimate beneficial owners]; a lack of information about corporate

ownership structures . . . and a failure to identify PEPs as connected parties. Similarly, almost all

of the higher risk files had inadequate EDD, with deficiencies such as: limited evidence of

meetings with customers; and inappropriate disregarding of negative press coverage. The

common theme in both the CDD and EDD was a failure to evidence source of funds and wealth

where appropriate and a lack of understanding of the customer’s business.” 27

           76.      Moreover, in late 2016 and early 2017, during their meetings with the Authority,

Deutsche Bank admitted to the Authority that there were around 5000 orphan accounts within the

Bank as of 2014, which “had not been onboarded in line with KYC requirements.” 28 As of 2017,

“[t]hese orphan accounts were active customer accounts for which Deutsche Bank’s systems

could not generate a link to underlying KYC documentation.”29 These accounts were active and

trading.30       Epstein’s accounts, as well as other accounts of individuals and entities engaged in




25
     Id.
26
     Id.
27
     Id. ¶ 4.57.
28
     Id. ¶ 4.59.
29
     Id.
30
     Id.


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wrongdoing, were orphan accounts that were active and trading with no underlying KYC

documentation.

          B.     Deutsche Bank Onboarded and Serviced Child Sex Trafficker and Abuser
                 Jeffrey Epstein, Aiding and Abetting His Criminal Activities

          77.    Jeffrey Epstein was a wealthy American financier with more than 500 million

dollars in assets (including real estate, an island and private planes) and an extensive network of

friends and connections that included prominent financial institutions, politicians, royalty, and

billionaires.31 Epstein engaged in the abuse and sex trafficking of minors from as early as 2005

and during the entire time of his relationship with Deutsche Bank. Epstein worked with several

employees and associates to ensure that he had a steady supply of minor victims to abuse and paid

several of those victims themselves to recruit other underage girls to engage in similar sex acts for

money.32

          78.    Allegations against Epstein began appearing prominently in the press as early as

March 2005, with the accusation that he paid a 14-year old girl for a “massage.” 33 In 2005, the

Palm Beach (Florida) Police Department commenced an investigation into allegations against

Epstein related to his activities in Palm Beach. The investigation quickly uncovered dozens of

other alleged victims.34 In September 2007, Epstein agreed to plead guilty to two prostitution


31
     Consent Order ¶ 8.
32
   United States Department of Justice, the United States Attorney’s Office, Southern District of
New York, Priorities, Human Trafficking and Sexual Exploitation of Minors,
https://www.justice.gov/usao-sdny/human-trafficking-and-sexual-exploitation-minors          (last
visited Feb. 27, 2021); Press Release, United States Department of Justice, the United States
Attorney’s Office, Southern District of New York, Jeffrey Epstein Charged In Manhattan Federal
Court With Sex Trafficking Of Minors, Alleged Conduct Occurred in both New York and Florida
over Multiple Years, Involving Dozens fo Victims (July 8, 2019), https://www.justice.gov/usao-
sdny/pr/jeffrey-epstein-charged-manhattan-federal-court-sex-trafficking-minors.
33
     Consent Order ¶ 9.
34
     Id. ¶ 10.


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charges in state court, including the solicitation of a minor to engage in prostitution, in exchange

for a deferred prosecution agreement providing him with immunity from extensive federal sex

trafficking charges.35

          79.    Between 2005 and 2013, numerous domestic and international news outlets

continued publicizing Epstein’s abuse of young girls. 36 For example, in August 2006, it was

reported that Epstein abused six girls between the ages of 14 and 16; 37 in September 2006, it was

reported that Epstein routinely paid an underage girl to bring teenage girls to his home; 38 in October

2007, it was reported that Epstein agreed to plead guilty to soliciting underage prostitutes at his

Florida mansion;39in March 2011, it was reported that Epstein groomed his 15-year-old masseuse

to become a teenage prostitute;40 and in October 2013, it was reported that Epstein served 13

months in jail for soliciting a minor for prostitution and that he paid confidential settlements to

nearly two dozen young women who filed lawsuits against him. 41

          80.    Despite widespread coverage of Epstein’s child sex trafficking and abuse, Deutsche

Bank’s executives onboarded Epstein as a client in 2013, enabling his criminal activities to



35
     Id. ¶ 12.
36
     Id. ¶ 14.
37
  Andrew Marra, The Man Who Had Everything; Jeffrey Epstein Craved Big Homes, Elite Friends
and, Investigators Say, Underage Girls, The Palm Beach Post, Aug. 14, 2006.
38
  Abby Goodnough, Questions of Preferential Treatment Are Raised in Florida Sex Case, N.Y.
Times (Sept. 3rd, 2006), https://www.nytimes.com/2006/09/03/us/03epstein.html.
39
     Dan Mangan, ‘Unhappy Ending’ Plea Deal,                      N.Y.     Post   (Oct.    1,   2007),
https://nypost.com/2007/10/01/unhappy-ending-plea-deal/.
40
  Sharon Churcher and Chelsea White, The Prince, a paedophile and the sex slave teen, The Daily
Telegraph (Mar. 1, 2011), https://www.dailytelegraph.com.au/the-prince-a-paedophile-and-the-
sex-slave-teen/news-story/8cdeee961a486febf459eafe00a7f710.
41
  Michele Dargan, Newest lawsuit against Epstein expected to include victim testimony, Palm
Beach Daily News (Oct. 24, 2013), https://www.palmbeachdailynews.com/news/local/newest-
lawsuit-against-epstein-expected-include-victim-testimony/CZ14s0ESb0Q4rib7njc1hL/.


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continue.42      Deutsche Bank’s relationship with Epstein commenced after another big bank,

JPMorgan Chase, dropped Epstein as a client in part based on reputational concerns. That didn’t

deter Deutsche Bank. In addition to opening and servicing wealth-management accounts for

Epstein, Deutsche Bank also provided loans to Epstein and his businesses.

          81.     Deutsche Bank relationship manager Paul Morris brought Epstein into Deutsche

Bank in 2013.43 Morris urged the Bank’s senior management, including Charles Packard, then

Co-Head of the Wealth Management division, and Patrick Harris, the Chief Operating Officer of

Wealth Management division, to onboard Epstein because he would generate millions of dollars

of revenue, as well as leads for other lucrative clients to Deutsche Bank. 44 Morris presented

Packard and Harris with a memorandum containing information on Epstein’s plea deal and prison

sentence, so it was crystal clear that Epstein had engaged in despicable acts, posing a significant

reputational and financial crime risk to the Bank. 45

          82.     In particular, the memorandum stated that “Epstein was charged with soliciting an

underage prostitution [SIC] in 2007,” that “[h]e served 13 months out of his 18 month sentence,”

and that “[h]e was accused of paying young woman [SIC] for massages in his Florida home.” 46 It

also highlighted that Epstein was involved in 17 out-of-court civil settlements related to his



42
     Consent Order ¶ 24.
43
   Id. ¶¶ 16–17; James B. Stewart, These Are the Deutsche Bank Executives Responsible for
Serving Jeffrey Epstein, N.Y. Times (July 13, 2020) (identifying RELATIONSHIP MANAGER-
1 as Paul Morris and “nearly every person anonymously described in the [consent] order”),
https://www.nytimes.com/2020/07/13/business/deutsche-bank-jeffrey-epstein.html.
44
   Consent Order ¶¶ 18–19; James B. Stewart, These Are the Deutsche Bank Executives
Responsible for Serving Jeffrey Epstein, N.Y. Times (July 13, 2020) (identifying EXECUTIVE-1
as Charles Packard), https://www.nytimes.com/2020/07/13/business/deutsche-bank-jeffrey-
epstein.html.
45
     Consent Order ¶¶ 19–20.
46
     Id. ¶ 20.


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conduct in the 2007 conviction.47 But all that was meaningless to Deutsche Bank, whose main

goal was profiteering.

           83.   In an April or May 2013 email sent to Packard and Harris attaching the

memorandum, Morris underscored how lucrative the relationship with Epstein could be to

Deutsche Bank, stating “[e]stimated flows of $100-300 [million] overtime [SIC] (possibly more)

w/ revenue of $2-4 million annually over time . . . .” In the same email, Morris proposed that all

Epstein-related accounts be for “entities” affiliated with Epstein, “not personal accounts.” 48

           84.   In a reply email, Packard noted that he had taken the issue to Deutsche Bank

Americas’ general counsel and the head of its AML Compliance operation and that neither felt

Epstein required additional review.49 At the time, Deutsche Bank was aggressively expanding its

U.S. wealth management business under its new co-chief executive, Anshu Jain, and was courting

wealthy clients shunned by other banks. Indeed, attractive earnings multiples had driven strong

investment from Deutsche Bank into asset and wealth management, as they consumed less capital

than the investment banking business. Deutsche Bank officials have repeatedly called the Bank’s

private banking wealth management business in the Americas a “key geographic region.”

           85.   CW1 explained that there was never any real due diligence carried on Epstein.

According to CW1, upon learning of Epstein’s convictions for criminal offenses, the Bank should

have carried out thorough KYC investigations. But CW1 stated that no KYC investigations were

ever undertaken.




47
     Id.
48
     Id. ¶ 21.
49
     Id. ¶ 22.


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          86.    Deutsche Bank’s Americas Reputational Risk Committee (“ARRC”) also agreed to

keep Epstein as a client despite knowing that by 2011 “40 underage girls had come forward with

testimony of Epstein sexually assaulting them.”50 For example, on January 30, 2015, members

of the ARRC met to discuss the Epstein relationship.51 In preparation for the ARRC meeting,

Packard and Morris met in person with Epstein at his New York home. 52 The meeting was held

in a bar adjacent to Epstein’s indoor swimming pool, located in the basement of his Manhattan

mansion. At this meeting, Epstein allegedly explained away suspicious transactions, including

large cash withdrawals and payments to Russian accounts that appeared suspicious in that they

may have been indicators of prostitution.

          87.    According to CW1, the way this meeting was conducted flouted all of Deutsche

Bank’s rules about how such meetings should be handled. Specifically, the meeting at Epstein’s

bar has been described as a “due diligence meeting” by Deutsche Bank. However, Deutsche

Bank’s own rules lay out how such due diligence meetings are to be conducted when dealing with

high-risk clients. CW1 explained: “There are meant to be minutes taken, there is meant to be a

thorough record of the meeting, allegations are meant to be put to the client in writing and the

client is generally expected to have his lawyer or advisor, and often also an accountant, with him.”

Both sides are meant to sign off on the minutes of such meetings. Failing to abide by these

regulations is a disciplinary offense at Deutsche Bank. According to CW1, however, neither

Packard nor Morris were ever disciplined.




50
  Id. ¶ 35. The ARRC reported to the Group Reputational Risk Committee, a subcommittee of
the Group Risk Committee. The Group Risk Committee is run by the Management Board.
51
     Id. ¶ 37.
52
     Id. ¶ 36.


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           88.   Deutsche Bank has also represented to the New York State Department of Financial

Services that it is not in possession of contemporaneous records reflecting the substance of the

meeting with Epstein, and is not aware of any other steps taken by Deutsche Bank at the time to

investigate the veracity of the allegations beyond speaking with Epstein. 53

           89.   The ARRC meeting that followed the bar meeting with Epstein was chaired by

Stuart Clarke, Chief Operating Officer for the Americas and General Manager of Deutsche Bank’s

New York branch and a member of the Regional Executive Committee. Other attendees included

Jan Ford, a Managing Director and Deutsche Bank Americas Head of Compliance and a member

of the North America Executive Committee and the Global Compliance Executive Committee. 54

Once again, no recorded minutes of that meeting were taken or kept, despite such a requirement at

the Bank.55

           90.   Later that day, a member of the ARRC emailed Packard to say, without explanation,

that the committee was “comfortable with things continuing” with Epstein, and that another

member of the committee had “noted a number of sizable deals recently.”56

           91.   The following week, Jan Ford reiterated the ARRC’s decision in an email to other

executives, stating that ARRC had agreed to “continue business as usual with Jeff Epstein based

upon [EXECUTIVE-1 (Packard)]’s due diligence [bar] visit with him.”57


53
     Id.
54
   James B. Stewart, These Are the Deutsche Bank Executives Responsible for Serving Jeffrey
Epstein, N.Y. Times (July 13, 2020) (identifying Deutsche Bank’s executives who participated in
the January 30, 2015 ARRC meeting concerning Epstein),
https://www.nytimes.com/2020/07/13/business/deutsche-bank-jeffrey-epstein.html.
SIFMA,       Jan    Ford,     Head     of      Compliance,      Americas    Deutsche     Bank,
https://www.sifma.org/people/jan-ford/ (last visited Feb. 27, 2021).
55
     Consent Order ¶ 58.
56
     Id. ¶ 37.
57
     Id. ¶ 38.


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          92.    Then, on July 21, 2015, when Epstein requested an increase in his trading limits,

the Chairman of the ARRC conferred with other members of the ARRC without formally meeting

and stated that he had no objections, saying “I also checked in with [EXECUTIVE-1 (Packard)]

last night to make sure he supports this and has heard nothing negative on the client.

[EXECUTIVE-1 (Packard)] confirmed both.”58 Again, without any due diligence and in complete

disregard for the crimes Epstein was perpetrating and the reputational risks he posed, Deutsche

Bank allowed him to continue to employ the Bank’s services to further his criminal activities.

          93.    CW1 said that Pamela Root, Global Head of Compliance at Deutsche Bank, was

also informed of the contents of the January 2015 ARRC meeting discussing Epstein when she

joined the Bank in April 2016. Still, Epstein remained a client.

          94.    According to media reports, in 2015 and 2016, AML compliance officers in

Deutsche Bank’s offices in New York and Jacksonville, Florida, again raised many concerns about

the work the Bank was doing with Epstein.59 The employees were concerned that the Bank’s

reputation would be harmed if it became public that Epstein was a client. Moreover, the

compliance officers noticed potentially illegal activity in Epstein’s accounts, including

transactions in which money was moving outside the United States. Despite the information, the

Bank continued its extensive business with Epstein unabated.

          95.    As the New York State Department of Financial Services later found when it fined

the Bank for its relationship with Epstein, Deutsche Bank “created the very real risk” that payments

through the Bank “could be used to further or coverup criminal activity and perhaps even to

endanger more young women.”60


58
     Id. ¶ 43.
59
     Many of the Bank’s AML operations are based in Jacksonville, Florida.
60
     Consent Order ¶ 29.


                                                32
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           96.   Over the course of his relationship with Deutsche Bank, Epstein held a number of

bank accounts with the Bank, with more than $110 million in just one of the accounts. During the

relationship, Epstein, his related entities, and associates opened and funded more than 40 accounts

at the Bank.61

           97.   Soon after he was onboarded and as early as November 1, 2013, Epstein and his

representatives began using the Deutsche Bank accounts to further his crimes. 62 For example,

Epstein made suspiciously large cash withdrawals and 120 wire transfers totaling $2.65 million to

women with Eastern European surnames for the stated purpose of covering hotel expenses, tuition

and rent.63 He also made many payments to individuals who had been publicly identified as

Epstein’s co-conspirators, including at least 18 wire transfers in the amount of $10,000 or more to

such co-conspirators.64 For some wire transfers, the connection was easily made by Bank

personnel for certain transactions, and Bank personnel were also aware that some of Epstein’s trust

beneficiaries were co-conspirators, as was the case with one of Epstein’s trusts called “The

Butterfly Trust.”65 The existence of co-conspirators as beneficiaries of the Trust created the very

real risk that payments through the Trust could be used to further or cover up criminal activity and

perhaps even to endanger more young women.66 Still, Deutsche Bank lent money to Epstein, held

his accounts, and provided trading services throughout the duration of the relationship.




61
     Id. ¶ 24.
62
     Id. ¶ 27.
63
     Id. ¶ 31.
64
     Id. ¶¶ 27–30.
65
     Id.
66
     Id. ¶ 29.


                                                33
           Case 1:22-cv-02854-JSR Document 89 Filed 06/30/22 Page 34 of 75




           98.    Epstein also used his various Deutsche Bank accounts to satisfy multiple

settlements, for a total of $7 million to law firms, as well as to make dozens of payments to law

firms, totaling over $6 million, for legal expenses for him and his co-conspirators. 67

           99.    Moreover, from 2013 to and including 2018, one of Epstein’s attorneys withdrew

from Epstein’s personal accounts over $800,000.00 in cash, for the stated purpose of using the

funds “for tipping and household expenses.” 68 The lawyer had repeatedly asked Bank officials

how much money could be withdrawn without triggering some kind of alert. 69 Deutsche Bank

never sought or received an explanation, nor did it conduct any due diligence about the recipients

of such payments.70

           100.   From the time of Epstein’s onboarding, the relationship was classified by Deutsche

Bank as “high-risk” and therefore should have been subject to enhanced due diligence. 71 Instead,

in a twist of irony, the Bank designated Epstein an “Honorary PEP.”72 According to CW1, “there

is no such thing as an honorary PEP. You are either a PEP or you aren’t. I suspect they use this

term to fudge things. Epstein was certainly very high risk . . . But Deutsche Bank did not treat him

as a high-risk client. I think the phrase ‘honorary PEP’ has been dreamt up to explain away why

he wasn’t treated as a high-risk client – whose accounts should have been constantly reviewed.”

           101.   According to CW8, Deutsche Bank had a KYC “special deal” for Epstein and other

high-net-worth individuals. CW8 explained that such individuals were not required to submit to



67
     Id. ¶ 32.
68
     Id. ¶¶ 48–52.
69
     Id. ¶¶ 50–51.
70
     Id. ¶ 50.
71
     Id. ¶ 26.
72
     Id.


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the normally required KYC documentation. Deutsche Bank gave them special exceptions because

of the amount of business they generated.

       102.    CW8 explained that after Epstein was onboarded, decisions about whether to

continue keeping him as a client were repeatedly escalated, including to Deutsche Bank’s

Reputational Risk Committee. “He would go up, get approved, go up, get approved,” CW8 said.

CW8 noted that the people who sat on Deutsche Bank’s Reputational Risk Committee were

“primarily business-sided people,” meaning they were interested solely in making money for the

Bank. CW8 said that Americas Region Head for Wealth Management Patrick Campion and

Deutsche Bank’s Managing Director/COO for Wealth Management and Global Head of Digital

and Client Analytics, Wealth Management, Thomas Klemm, were on Deutsche Bank’s

Reputational Risk Committee, which repeatedly approved Epstein despite his reputational risks.

Both Campion and Klemm were also Executive Committee Members for Deutsche Bank’s Global

Wealth Management.

       C.      Deutsche Bank Onboarded and Serviced Eastern European Oligarchs
               Reportedly Involved in Criminality

       103.    Jeffrey Epstein was not the only unsavory character on Deutsche Bank’s client

roster. As a matter of practice at the highest level of the corporate apex, unbeknownst to investors

the Bank routinely onboarded without due diligence and serviced individuals reportedly engaged

in criminal activities, in reckless disregard of the financial crimes they helped perpetrate and

despite the reputational risks they posed to the Bank.

               (i)     Deutsche Bank Onboarded and Serviced PEP Igor Putin

       104.    Igor Putin was a client of Deutsche Bank until 2019. Igor Putin is the first cousin

of Russian President Vladimir Putin, and himself a Russian businessman, politician, and former

Vice President of Master Bank, a private bank in Moscow. Igor Putin was associated with a



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number of companies engaged in money laundering. Deutsche Bank did not conduct any due

diligence on Igor Putin before onboarding him.

       105.    In September 2010, Igor Putin became Vice President of Master Bank. In the same

month, Master Bank received a lucrative contract with the Russian Nanotechnology Corporation.

After receiving the lucrative contact, Igor Putin held the position of Vice President for only a few

months and retired in December 2010. His retirement coincided with a criminal investigation in

which over 30 million rubles were allegedly stolen from Master Bank by its employees using IT

technologies. The investigation accused the leading IT specialist of Master Bank, Mery Tevanyan,

of operating a large illegal business, with a daily volume of up to 500 million Russian rubles, using

Master Bank’s money.

       106.    In March 2011, five days after the conclusion of the investigation, Igor Putin

returned to Master Bank as a director. According to Master Bank, he was not supposed to manage

its daily operations. In November 2013, the Central Bank of Russia revoked the banking license

of Master Bank following money-laundering scandals. Igor Putin was director of the Board of

Master Bank at the time of the scandal.

       107.    In 2014, a report by the Organized Crime and Corruption Reporting Project exposed

a $20-billion money-laundering scheme between Russian banks and the Moldovan bank

Moldindconbank, a scheme where Russian Land Bank wired $5 billion to the Moldovan bank.

Igor Putin was a director of Land Bank.

       108.    The Russky Zemelny Bank, in which Igor Putin was an investor, was shut down

that same year for suspicious activities related to a $20-billion money-laundering scheme. Igor

Putin resigned from the Board of Directors of the Russky Zemelny Bank, Promyshlenny

Sberegatelny Bank and the construction company Yakut. In 2017, the banker Alexei Kulikov was




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arrested for illegally spiriting $10 billion out of the country through Promersbank, a bank that had

Igor Putin on its Board at the time of this arrest.

                (ii)    Deutsche Bank Onboarded and Serviced PEP Roman Abramovich

        109.    Oligarch Roman Abramovich is a current client of Deutsche Bank AG.

Abramovich was onboarded by Deutsche Bank’s former CEO Josef Ackermann. Deutsche Bank

did not conduct any due diligence on Abramovich. Abramovich is an Israeli-Russian billionaire

businessman and politician. Abramovich is the primary owner of the British private investment

company Millhouse LLC and is best known outside the U.K. as the owner of Chelsea F.C., a

Premier League British football club. On paper, Millhouse Capital does not have links to

Abramovich’s name, but is ultimately controlled by Abramovich. He was formerly governor of

Chukotka Autonomous Okrug in Russia from 2000 to 2008. Deutsche Bank is an advisor to

Millhouse Capital.73 The Bank also loaned $700 million to Abramovich’s steel company Evraz. 74

        110.    According to Forbes, Abramovich’s net worth was $12.9 billion in 2019 making

him the richest person in Israel, 10th-richest in Russia, and the 113th-richest person in the world.

Since 1988, Abramovich has traded in timber, sugar, foodstuffs and various other products.

Abramovich set up and liquidated at least 20 companies during the early 1990s, in sectors as

diverse as tire retreading and bodyguard recruitment.




73
   Georgina Prodhan and Michael Shields, Deutsche Bank: Millhouse Capital ready to raise
Hypo Balkans offer, MarketScreener (July 29, 2014),
https://www.marketscreener.com/quote/stock/DEUTSCHE-BANK-AG-
56358396/news/Deutsche-Bank-Millhouse-Capital-ready-to-raise-Hypo-Balkans-offer-
18811657/ (stating that the Bank is “advising on the sale” of Hypo Balkans network to Millhouse
Capital).
74
  The Moscow Times, ING, Deutsche Bank Launch $700M Syndicated Loan for Steel-Maker
Evraz (May 28, 2014), https://www.themoscowtimes.com/2014/05/28/ing-deutsche-bank-launch-
700m-syndicated-loan-for-steel-maker-evraz-a35927.


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       111.    In 1992, he was arrested and sent to prison in a case of theft of government property:

AVEKS-Komi sent a train containing 55 cisterns of diesel fuel, worth 3.8 million rubles, from the

Ukhta Oil Refinery in Russia. Abramovich met the train in Moscow and re-sent the shipment to

the Kaliningrad military base under a fake agreement, but the fuel arrived in Riga, Latvia.

       112.    In May 1995, jointly with Boris Berezovsky, another prominent Russian business

oligarch, Abramovich set up the P.K. Trust closed joint-stock company. In 1995 and 1996, he

established 10 more firms: the Mekong close joint-stock company, the Centurion-M close joint-

stock company, the Agrofert limited liability company, the Multitrans close joint-stock company,

the Oilimpex close joint-stock company, the Sibreal close joint-stock company, the Forneft close

joint-stock company, the Servet close joint-stock company, the Branco close joint-stock company,

and the Vector-A limited liability company.

       113.    In 1995, Abramovich and Berezovsky acquired a controlling interest in the large

oil company, Sibneft. The deal took place within the controversial loans-for-shares program and

each partner paid $100 million for half of the company, above the stake’s stock market value of

$150 million at the time, and rapidly increased its market capitalization to billions of dollars. The

fast-rising value of the company led many observers, in hindsight, to suggest that the real cost of

the company should have been in the billions of dollars (it was worth $2.7 billion at that time).

Abramovich later admitted in court that he paid huge bribes (in millions) to government officials

and obtained protection from gangsters to acquire these and other assets (including aluminum

assets during the aluminum wars).




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           114.   Abramovich is one of many Russian oligarchs named in the Countering America’s

Adversaries Through Sanctions Act, signed into law by President Donald Trump in 2017. 75

           115.   According to a 2018 article in The Guardian, in 2016, Abramovich applied for

residency in Switzerland, intending to move to the ski resort of Verbier. Swiss authorities denied

the application after the Swiss Federal Office of Police concluded that Abramovich was under

“suspicion of money laundering and presumed contacts with criminal organizations,” and that his

assets were “at least partially of illegal origin.”76 Abramovich unsuccessfully took legal action to

prevent Swiss media from reporting on the matter and denied the allegations.

           116.   The article reported that “Switzerland’s federal police advised that the Russian

oligarch Roman Abramovich posed a ‘threat to public security and a reputational risk’ to the

country if he became a resident.”77 The article indicated that “[v]isa troubles have left Abramovich

unable to work in the UK. His Israeli passport allows him to visit Britain for up to six months each

year, but Israeli nationals are required to obtain a visa if they want to work, live or study in Britain.

If he were to re-apply for a UK visa, the tycoon would have to submit to an examination of the

source of his wealth, under tighter controls introduced since his last visa renewal.” 78




75
  January 29, 2018 Unclassified Report to Congress Pursuant to Section 241 of the Countering
America’s Adversaries Through Sanctions Act of 2017 Regarding Senior Foreign Political Figures
and Oligarchs in the Russian Federation and Russian Parastatal Entities, available at http://prod-
upp-image-read.ft.com/40911a30-057c-11e8-9650-9c0ad2d7c5b5.
76
  Juliette Garside, Roman Abramovich posed threat to public security, Swiss Police said, The
Guardian (Sept. 25, 2018), https://www.theguardian.com/world/2018/sep/25/roman-abramovich-
posed-threat-to-public-security-swiss-police-said.
77
     Id.
78
     Id.


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       D.      Deutsche Bank Onboarded and Serviced the Founders of the Hezbollah
               Terrorist Organization

       117.    CW9 stated that on about six occasions, U.S. Department of Treasury officials who

were monitoring the Bank’s compliance came over to CW9’s desk and questioned CW9 on why

flagged transactions and clients had not been written up in SAR reports.

       118.    CW9 told the officials that CW9 had in fact written SARs. Indeed, CW9 kept the

files on CW9’s computer and pulled them up for the Treasury officials. As it turned out, the SAR

reports had not been sent to Treasury officials after CW9 sent them to the Bank’s SAR team, CW9

said. Speaking about CW9’s interactions with the Treasury officials, CW9 said: “They would pull

up an account where obviously there was something going on, and they would ask me why this

wasn’t escalated, why this didn’t make it to the SAR, why there wasn’t a SAR. And I told them

there actually was a SAR. I kept everything. I showed it to them.”

       119.    When CW9 and others sent SAR reports to the SAR team – which occurred via

email – “supposedly [the SAR team] would send them over to the feds,” CW9 said, “but a lot of

times, that wouldn’t happen.” CW9 showed Treasury officials a SAR CW9 had written to

document a string of “five and dime” “mom and pop stores” in Kazakhstan that were passing

“hundreds of thousands of dollars” through their stores each day.

       120.    CW9 had flagged the account after noticing large transactions that were of an

abnormal amount, especially given the nature of the “five and dime” stores. “They’re transferring

about half a million dollars every day through the stores,” CW9 said. “It was very blatant.” After

flagging the transactions, CW9 looked up the name of the company/stores, which was unknown.

CW9 then used the address associated with the account to find out more information about the

stores. CW9 then determined that the stores were linked to “the two founders, the two brothers of

the Hezbollah terrorist organization. They were most assuredly involved,” CW9 said.



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       121.    CW9 wrote up a SAR report and sent it to the Bank’s SAR team, but CW9 did not

know what happened to the report afterward. CW9’s boss, Vice President of AFC, Scott Rossman

and Director/Head of Financial Crime Investigations Division – Jacksonville, Josh Blazer told

CW9 to “let it go.” “I was fighting with my manager … They did not want us to go any further

with it,” CW9 said, adding that Deutsche Bank was “dirty” and emphasizing that the Bank

“squashed” SAR reports that were filed.

       122.    When CW9 raised concerns about SARs that were not being escalated, including

the one on the Hezbollah-associated clients, CW9’s superiors – including Rossman and Blazer –

told CW9, “You need to weigh the amount of money that we’re making versus the fine that we’re

going to get,” CW9 said.

       E.      Deutsche Bank Onboarded and Serviced a Billionaire Suspected of Financing
               Terrorism

       123.    According to CW10, Deutsche Bank serviced a billionaire who was a relative of

one of the founders of Al Rajhi Bank in Saudi Arabia, an entity long suspected of financing

terrorists.79 CW10 also discovered that one of the account holder’s relatives, who was using the

account holder’s account, was (and still is) on the FBI’s Most Wanted Fugitive list for terrorism.

CW10 said: “If a person was on that Most Wanted list and also came up under World-Check as

being a relative of one of the founders of the Al Rajhi Bank, that is the biggest red flag you would

ever need.”


79
   See, e.g., Glenn R. Simpson, U.S. Tracks Saudi Bank Favored by Extremists, Wall St. J. (July
26, 2007), https://www.wsj.com/articles/SB118530038250476405 (stating that “[c]onfidential
reports by the Central Intelligence Agency and other U.S. agencies, reviewed by The Wall Street
Journal, detail for the first time how much the U.S. learned about the use of Al Rajhi Bank by
alleged extremists.”); Bernie Pazanowski, Saudi Bank Sees $4 Billion Suit Alleging Al Qaeda Aid
Revived, Bloomberg Law (Oct. 15, 2019) (reporting that the Second Circuit reinstated a lawsuit
against Al Rajhi Bank for allegedly aiding and abetting al Qaeda’s terrorist attacks in the U.S. on
September 11, 2001), https://news.bloomberglaw.com/us-law-week/4-billion-lawsuit-tying-saudi-
bank-to-al-qaeda-support-revived.


                                                41
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       124.    CW10 followed the procedures, wrote up a SAR report in the summer of 2019, and

sent it to the AFC Team Manager for Deutsche Bank’s Wealth Management division, Gwendolyn

Hill. Hill told CW10 that s/he was doing “too much digging” and instructed CW10 not to go back

to the FBI’s website because “that’s not a tool and that’s not something you should be doing and

the additional in-depth investigation has been done.” Hill told CW10: “We can’t tell a billion-

dollar client we’re going to close their accounts because our analyst thinks s/he saw something.’”

       F.      Deutsche Bank Onboarded and Serviced Germán and José Efromovich
               Despite Their Links to a Mexican Drug Cartel

       125.    According to CW11, Deutsche Bank’s AFC unit approved two billionaire brothers

with links to a Mexican drug cartel. The two brothers, allegedly Germán and José Efromovich,

owned the Avianca airline company in Colombia, which automatically placed them in the “high-

risk” category because of their location. In addition to location, the airline industry also

automatically placed the brothers in the “high-risk” category.

       126.    Avianca, the airline company owned by the Efromovich brothers, was the second

largest airline business in Latin America before it became bankrupt. 80 The SEC records for

Avianca Holdings show that former Avianca CEO Fabio Villegas Ramírez was previously a

Managing Director for Deutsche Bank in Colombia,81 and the current Avianca CFO Adrian

Neuhauser previously held a senior position at Deutsche Bank. 82 Avianca’s SEC records also show


80
   Ricardo Brito, Marcelo Rochabrun, UPDATE 3-Avianca’s majority shareholders arrested in
Brazil on accusations of corruption, Reuters (Aug. 19, 2020),
https://www.reuters.com/article/brazil-corruption/update-3-aviancas-majority-shareholders-
arrested-in-brazil-on-accusations-of-corruption-idUSL1N2FL0N3.
81
   Avianca Holdings S.A.’s Form 20-F filed with the SEC on April 30, 2015, available at
https://google.brand.edgar-
online.com/efxapi/EFX_dll/EDGARpro.dll?FetchFilingHtmlSection1?SessionID=nvG5qvigikE
T5G7&SectionID=9594501-813647-848322#D538577D424B4_HTM_TOC.
82
   Avianca Holdings S.A.’s Form 20-F filed with the SEC on June 10, 2020, available at
https://sec.report/Document/0001193125-20-165956/.


                                                42
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that Deutsche Bank Securities Inc. is listed as an underwriter of Avianca’s American Depository

Shares.83 Additionally, Avianca had filed for bankruptcy in 2018 and bankruptcy court records

show that Deutsche Bank is listed as a lender of $33.5 million to Avianca Holdings. 84

       127.    Germán and José Efromovich are also high-risk PEPs. The sister of Colombia’s

president-elect Iván Duque, Maria Paula is a senior Vice President of Strategic Relations &

Customer Experience at Avianca Holdings. 85 Additionally, former Brazilian president Luiz Inácio

Lula da Silva (2003–2010) was a student at an adult-education school run by Germán Efromovich

in the 1970s, according to press reports. The Efromovich brothers received numerous shipyard

contracts under Lula and his hand-picked successor Dilma Rousseff (2011–2016). Government-

owned banks BNDES and Caixa Econômica Federal provided financing for some of these

contracts.86




83
   Avianca Holdings S.A.’s Amendment No. 2 to Form F-1 Registration Statement submitted to
the SEC on August 7, 2013, available at
https://www.sec.gov/Archives/edgar/data/1575969/000095012313005530/filename1.htm.
84
   Debtors’ Reply to the Objections of USAV and the USAV Secured Lender Group to the
Debtors’ Motion for Entry of an Order Authorizing Rejection of Certain Executory Contracts,
Exhibit 3 to Renenger Declaration at 150, In re Avianca Holdings S.A., et al., No. 20-11133
(MG) (S.D.N.Y. Aug. 7, 2020), ECF No. 683, available at
http://www.kccllc.net/avianca/document/2011133200807000000000008; Ricardo Meier,
Avianca Brasil (OceanAir) confirms collapse, Airway (July 7, 2020),
https://www.airway1.com/avianca-brasil-oceanair-confirms-collapse/.
85
  Loren Moss, While Asking For Government Bailout & Furloughing Thousands of Employees,
Bankrupt Avianca Paid 7 “Insiders” Bonuses Of Over $10.3 Million USD, Finance Colombia
(Sept. 21, 2020), https://www.financecolombia.com/while-asking-for-government-bailout-
furloughing-thousands-of-employees-bankrupt-avianca-paid-7-insiders-bonuses-of-over-10-3-
million-usd/.
86
   Debtwire, Shareholder Profile: Efromovich brothers double down on Avianca as shipyards
struggle, Avianca Holdings, OceanAir Linhas Aéreas, Synergy Group at 7 (June 19, 2018),
available at https://s3.eu-west-2.amazonaws.com/acuris-
live/Efromovich%20profile%2019%20Jun%202018.pdf.


                                               43
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           128.   José Carlos Bumlai is a Brazilian executive and friend of Lula. In 2015, Brazilian

federal police found documents in Bumlai’s apartment suggesting he used his influence to help the

Efromovich brothers win contracts with Petrobras, Brazil’s state-owned oil company. Bumlai was

sentenced to nearly 10 years in prison for fraud and corruption in 2016. 87

           129.   The family of Mauricio Macri, the president of Argentina since 2015, sold MacAir

Jet SA (now Avian Líneas Aéreas) to the Efromovich Brothers in March 2016 for $10 million,

according to the press. The Macri family, Germán Efromovich and the CEO of Avian Líneas

Aéreas, have been under criminal investigation in Argentina since 2017 over the allocation of

airline routes.88

           130.   Furthermore, the Efromovich brothers were arrested last year in Brazil by the

country’s federal police, placed under house arrest and forbidden from leaving Brazil. The

brothers were charged with creating a corporate structure in Brazil and abroad to launder money,

costing Brazil $111 million. The brothers were also charged with bribing public officials in order

to land ship-building contracts with Transpetro, the logistic unit of Brazilian oil company

Petrobras.89 The prosecutor Luciana Bogo stated: “The network of corruption in contracts for the

construction of ships generated incalculable losses for Transpetro and the Brazilian naval




87
     Id.
88
     Id.
89
   Ricardo Brito, Marcelo Rochabrun, UPDATE 3-Avianca’s majority shareholders arrested in
Brazil on accusations of corruption, Reuters (Aug. 19, 2020),
https://www.reuters.com/article/brazil-corruption/update-3-aviancas-majority-shareholders-
arrested-in-brazil-on-accusations-of-corruption-idUSL1N2FL0N3.


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industry.”90 The arrest of the Efromovich brothers was carried out within the largest anti-

corruption operation in the history of Brazil. 91

           131.   CW11 found that the Efromovich brothers’ Avianca ownership structure included

a Mexican family linked to a Mexican drug cartel. CW11 learned about the family’s stake in the

business from an organizational chart submitted to the Bank. Given Colombia’s links to cocaine

trafficking, the brothers’ involvement in a high-risk industry and their ties to a family with links

to a Mexican drug cartel, “all of those were red, red, red flags,” CW11 said.

           132.   CW11 escalated the brothers’ case for further review to the AFC department.

According to CW11, the Bank’s AFC department had a specific team dedicated to “KYC High-

Risk Escalations.” This occurred through a process where CW11 compiled all research related to

the brothers, uploaded documents into a system called “DB CAR” and annotated CW11’s findings

with notes. CW11 explained: “You take all of the findings, write up the concern – ‘This is what

we have. This is what we found.’”

           133.   Despite the red flags, the AFC unit approved the Efromovich brothers as clients.

CW11 knew the brothers were approved because CW11 was notified about decisions related to

clients CW11 escalated. Referring to the approval of the billionaire brothers with ties to a Mexican

drug cartel, CW11 noted: “I’m sure it was a lot of money.”

           134.   CW11 said the AFC unit regularly approved new clients, despite their cases being

escalated because of red flags linked to adverse news findings, location, industry and other

information that came up during the KYC/due diligence process. “They would approve them




90
   Efromovich brothers, formally denounced for corruption, Archyde (Sept. 25, 2020),
https://www.archyde.com/efromovich-brothers-formally-denounced-for-corruption/.
91
     Id.


                                                    45
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anyway even though we brought it to their attention,” CW11 stated, referring to red flags

discovered during the due diligence process. “I’ve never seen them not approve [a client] – never.”

        G.     Deutsche Bank Was Raided by German Authorities For Its Involvement In
               Facilitating Transactions With The Family of Syrian Dictator Bashar al-
               Assad

        135.   Recently, it was reported that Deutsche Bank was raided on suspicion of filing

money laundering reports too late concerning transactions involving the family of Syrian dictator

Bashar al-Assad. Raids were carried out in April 2022 with officers from the German Federal

Criminal Police Office (BKA) and Germany’s financial watchdog Bafin. German financial

newspaper Handelsblatt reported a transaction linked to the family of Assad, carried out several

years ago and involving Assad’s uncle, Rifaat Assad. While Rifaat did not have an account with

the Bank, the Bank still processed and distributed money to the Assad family. Bank employees are

legally obligated to immediately report suspicions of money laundering, particular transactions

that could be linked to criminal or terrorist financing, but the Bank only reported the transaction

last year.

               MATERIALLY FALSE AND MISLEADING STATEMENTS
                     ISSUED DURING THE CLASS PERIOD

        136.   During the Class Period, Defendants made materially false and misleading

statements concerning Deutsche Bank’s client relationships and its KYC processes and

procedures.

        A.     The 2017 Statements

        137.   On March 14, 2017, Deutsche Bank published on its official website its Annual

Report 2016, representing that “We are exiting client relationships where we consider . . . risks to

be too high while also strengthening our client on-boarding and know-your client (KYC)

procedures.” The Annual Report 2016 was signed by, among others, Defendant Cryan.



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       138.    The statements in the paragraph above were false and misleading when made

because Deutsche Bank was not, in reality, exiting high-risk relationships and was not, in reality,

strengthening its client onboarding and KYC procedures. To the contrary, for high-net-worth

clients, Deutsche Bank was making exceptions, disregarding the high-risk nature of the

relationships and the attending reputational and financial crime risks, in order to extract profits.

Deutsche Bank was onboarding and servicing high-net-worth clients without any real due

diligence, enabling their criminal activities to continue.

       139.    On March 20, 2017, Deutsche Bank filed an annual report on Form 20-F with the

SEC, reporting the Bank’s financial and operating results for the quarter and year ended December

31, 2016 (the “2016 20-F”). The 2016 20-F contained a signed Sarbanes Oxley certification by,

among others, Defendant Cryan.

       140.    The 2016 20-F contained the following statements concerning the Bank’s KYC

procedures:

       Major achievements in 2016 included . . . Substantial investment in our control
       functions, including the ongoing implementation of a more comprehensive Know-
       Your-Client (KYC) process and an off-boarding process for higher risk clients.

                                       *       *        *

       We are exiting client relationships where . . . risks are too high while also
       strengthening our client on-boarding and KYC procedures.

       141.    The statements in the paragraph above were false and misleading when made

because Deutsche Bank was not, in reality, exiting high-risk relationships and was not, in reality,

strengthening its client onboarding and KYC procedures. To the contrary, for high-net-worth

clients, Deutsche Bank was making exceptions, disregarding the high-risk nature of the

relationships and the attending reputational and financial crime risks, in order to extract profits.

Deutsche Bank was onboarding and servicing high-net-worth clients without any real due



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diligence, enabling their criminal activities to continue. Moreover, the representation that one of

Deutsche Bank’s “major achievements in 2016” was the implementation of a “more

comprehensive” KYC process and off-boarding for higher risk clients gave investors the false

impression that Deutsche Bank was taking significant steps to strengthen its KYC processes when,

in reality, the Bank’s KYC procedures did not apply to high-net-worth clients, who were afforded

special treatment.

       142.    On or around July 2, 2017, Deutsche Bank posted on its official website the

following statements concerning the Bank’s KYC procedures:

       Compliance: Conformity with the law and adherence to regulations and standards.
       How we assess and accept clients: We have developed effective procedures for
       assessing clients (Know Your Customer or KYC) and a process for accepting new
       clients in order to facilitate comprehensive compliance. Furthermore they help us
       to minimize risks relating to money laundering, financing of terrorism and other
       economic crime. Our KYC procedures start with intensive checks before accepting
       a client and continue in the form of regular reviews. Our procedures apply not only
       to individuals and corporations that are or may become our direct business partners,
       but also to people and entities that stand behind them or are indirectly linked to
       them.

       143.    The statements in the paragraph above were materially false and misleading when

made, or omitted to state material facts necessary to make the statements not misleading, because

the statements failed to disclose, among other things, that the Bank was not conducting due

diligence on high-net-worth clients, and there were no “intensive checks” before accepting such

clients or during the duration of their relationship with Deutsche Bank. Far from “minimiz[ing]

risks” related to money laundering, financing of terrorism, or other crimes, Deutsche Bank was

facilitating such crimes by lending money, holding and servicing the accounts, and providing

trading services to unsavory clients engaged in criminal activities.

       144.    On or about July 10, 2017, Deutsche Bank posted on its official website the

following representations:



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       DB has developed and implemented a comprehensive set of measures to identify,
       manage and control its AML risk. These measures are: A robust and strict KYC
       program.

        6.3. KYC Program
       DB has implemented a strict group-wide KYC program to ensure all kinds of
       customers (natural or legal persons or legal structures, correspondent banks) are
       subject to adequate identification, risk rating and monitoring measures. This
       program has been implemented globally and throughout all business divisions.
       KYC includes not only knowing the clients and entities the Bank deals with (either
       as a single transaction or ongoing relationship), or renders services to, but also the
       Ultimate Beneficial Owners (UBOs), Legal Representatives and Authorised
       Signatories as appropriate. The program includes strict identification requirements,
       name screening procedures and the ongoing monitoring and regular review of all
       existing business relationships. Special safeguards are implemented for business
       relationships with politically exposed persons (PEPs) and clients from countries or
       industries deemed high risk.

       145.    The statements in the paragraph above were materially false and misleading when

made because Deutsche Bank did not, in fact, have a “robust and strict KYC program” to ensure

“all kinds of customers . . . are subject to adequate identification, risk rating and monitoring

measures” and Deutsche Bank did not, in fact, subject its high-net-worth clients to “strict

identification requirements, name screening procedures and the ongoing monitoring and regular

review of all existing . . . relationships.” Far from applying such “strict” processes, Deutsche Bank

had relaxed all KYC procedures for its high-net-worth clients. There were, in reality, no “special

safeguards” implemented for PEPs and clients such as Epstein were treated as “Honorary” PEPs

excused from any robust due diligence or meaningful KYC processes.

       B.      The 2018 Statements

       146.    On or about March 12, 2018, Deutsche Bank published on its official website its

Non-Financial Report 2017, as a supplement to the Bank’s 2017 Annual Report signed by

Defendant Cryan.      The Non-Financial Report 2017 represented that the Bank’s newly-

implemented KYC program “pay[s] special attention to high-risk clients (such as politically

exposed persons [PEP]) . . . Clients are assessed as part of due diligence and are regularly screened


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against internal and external criteria. In 2017, we continued to roll out an extended screening

program, which serves as the basis for further enhancement with regards to screening effectiveness

and efficiency.”

       147.    The statements in the paragraph above were false and misleading when made

because Deutsche Bank did not in fact “pay special [due diligence] attention to high-risk clients

such as politically exposed persons,” as high-net-worth, high-risk clients were in fact not subject

to any meaningful due diligence and instead were afforded special treatment. Epstein, for example,

was designated an “Honorary PEP,” a label that excused him from KYC scrutiny. The statement

that in 2017, Deutsche Bank enhanced the effectiveness and efficiency of its client screening

program was misleadingly incomplete because it failed to disclose that Deutsche Bank’s high-net-

worth clients were exempted from due diligence.

       148.    The Non-Financial Report 2017 also maintained in relation to its KYC assurances

that “[a]ssessing and understanding client-related money laundering and terrorist financing risks

is a critical component of our AFC Risk Management framework, which helps us to mitigate and

manage risk in line with our financial crime risk appetite.          The primary objective of risk

segmenting our client base is to conduct appropriate due diligence and to ensure a comprehensive

client profile is in place to enable the comparison of the results of ongoing monitoring and identify

any discrepancies. Our risk rating methodology considers the following aspects of each client

relationship to determine a Client Risk Rating: country risk, industry risk, product risk, and entity-

type risk. Irrespective of the risk type, if the client is a PEP or an ultimate beneficial owner of the

client is a PEP, they will always be classified as high risk.”

       149.    The statements in the paragraph above were false and misleading when made

because they conveyed overall a hopelessly incomplete picture of Deutsche Bank’s KYC




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procedures. For example, Deutsche Bank concealed that PEPs who were high-net-worth clients

were not subject to any meaningful due diligence. Moreover, some, if not all, PEPs were labeled

“Honorary” PEPs and therefore not treated as high-risk or subject to any meaningful scrutiny.

       150.    On or around March 12, 2018, Deutsche Bank published on its official website its

Annual Financial Statements and Management Report of Deutsche Bank AG 2017, which

contained similar representations as to those made in paragraphs 146 and 148 above. The report

was signed by, among others, Defendant Cryan.

       151.    Those statements were false and misleading when made for the reasons described

in paragraphs 147 and 149 above.

       152.    On or around March 15, 2018, Deutsche Bank published on its official website its

Annual Report 2017, representing that “We are exiting client relationships where we consider . . .

risks to be too high while also strengthening our client on-boarding and know-your-client (KYC)

procedures.” The report was signed by, among others, Defendant Cryan.

       153.    The statements in the paragraph above were false and misleading when made

because Deutsche Bank was not, in reality, exiting high-risk relationships and was not, in reality,

strengthening its client onboarding and KYC procedures. To the contrary, for high-net-worth

clients, Deutsche Bank was making exceptions, disregarding the high-risk nature of the

relationships and the attending reputational and financial crime risks, in order to extract profits.

Deutsche Bank was onboarding and servicing high-net-worth clients without any real due

diligence, enabling their criminal activities to continue.

       154.    On March 16, 2018, Deutsche Bank filed its annual report on Form 20-F with the

SEC, reporting the Bank’s financial and operating results for the quarter and year ended December




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31, 2017 (the “2017 20-F”). The 2017 20-F contained a signed Sarbanes Oxley certification by,

among others, Defendant Cryan.

       155.    The 2017 20-F contained the following statements concerning the Bank’s KYC

procedures:

       We are exiting client relationships where we consider returns to be too low or risks
       to be too high while also strengthening our client on-boarding and know-your-client
       (KYC) procedures.

       156.    The statements in the paragraph above were false and misleading when made

because Deutsche Bank was not, in reality, exiting high-risk relationships and was not, in reality,

strengthening its client onboarding and KYC procedures. To the contrary, for high-net-worth

clients, Deutsche Bank was making exceptions, disregarding the high-risk nature of the

relationships and the attending reputational and financial crime risks, in order to extract profits.

Deutsche Bank was onboarding and servicing high-net-worth clients without any real due

diligence, enabling their criminal activities to continue.

       157.    On or around July 2 and September 30, 2018, Deutsche Bank posted on its official

website the following statements concerning the Bank’s KYC procedures:

       Compliance: Conformity with the law and adherence to regulations and standards.
       How we assess and accept clients: We have developed effective procedures for
       assessing clients (Know Your Customer or KYC) and a process for accepting new
       clients in order to facilitate comprehensive compliance. Furthermore they help us
       to minimize risks relating to money laundering, financing of terrorism and other
       economic crime. Our KYC procedures start with intensive checks before accepting
       a client and continue in the form of regular reviews. Our procedures apply not only
       to individuals and corporations that are or may become our direct business partners,
       but also to people and entities that stand behind them or are indirectly linked to
       them.

       158.    The statements in the paragraph above were materially false and misleading when

made, or omitted to state material facts necessary to make the statements not misleading, because

the statements failed to disclose, among other things, that the Bank was not conducting due



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diligence on high-net-worth clients, and there were no “intensive checks” before accepting such

clients or during the duration of their relationship with Deutsche Bank. Far from “minimiz[ing]

risks” related to money laundering, financing of terrorism, or other crimes, Deutsche Bank was

facilitating such crimes by lending money, holding and servicing the accounts, and providing

trading services to unsavory clients engaged in criminal activities.

       159.    On or about July 10, 2018 and September 27, 2018, Deutsche Bank posted on its

official website the following representations:

       DB has developed and implemented a comprehensive set of measures to identify,
       manage and control its AML risk. These measures are: A robust and strict KYC
       program.

       6.3. KYC Program
       DB has implemented a strict group-wide KYC program to ensure all kinds of
       customers (natural or legal persons or legal structures, correspondent banks) are
       subject to adequate identification, risk rating and monitoring measures. This
       program has been implemented globally and throughout all business divisions.
       KYC includes not only knowing the clients and entities the Bank deals with (either
       as a single transaction or ongoing relationship), or renders services to, but also the
       Ultimate Beneficial Owners (UBOs), Legal Representatives and Authorised
       Signatories as appropriate. The program includes strict identification requirements,
       name screening procedures and the ongoing monitoring and regular review of all
       existing business relationships. Special safeguards are implemented for business
       relationships with politically exposed persons (PEPs) and clients from countries or
       industries deemed high risk.

       160.    The statements in the paragraph above were materially false and misleading when

made because Deutsche Bank did not, in fact, have a “robust and strict KYC program” to ensure

“all kinds of customers . . . are subject to adequate identification, risk rating and monitoring

measures” and Deutsche Bank did not, in fact, subject its high-net-worth clients to “strict

identification requirements, name screening procedures and the ongoing monitoring and regular

review of all existing . . . relationships.” Far from applying such “strict” processes, Deutsche Bank

had relaxed all KYC procedures for its high-net-worth clients. There were, in reality, no “special




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safeguards” implemented for PEPs and clients, such as Epstein, were treated as “Honorary” PEPs

excused from any robust due diligence or meaningful KYC processes.

       161.    In an August 3, 2018 public response addressing rumors reported by Reuters that

the Bank was suffering from shortcomings in its customer screening process, Deutsche Bank

publicly represented of its group-wide controls: “We are not struggling with procedures designed

to help prevent criminals from money laundering and other criminal action. Our procedures to

identify potential anti-money laundering and KYC risks are very effective.”

       162.    The statements in the paragraph above were materially false and misleading when

made, or omitted to state material facts necessary to make the statements not misleading, because

the statements failed to disclose, among other things, that the Bank was, in fact, enabling financial

crimes through its practice of onboarding and retaining PEPs and other high-net-worth clients

engaged in criminal activities without subjecting such clients to any substantive due diligence. In

fact, Deutsche Bank was treating certain PEPs as “Honorary” PEPs exempt from any meaningful

KYC safeguards.

       C.      The 2019 Statements

       163.    On or about March 15, 2019, Deutsche Bank published on its official website its

Non-Financial Report 2018, as a supplement to the Bank’s 2018 Annual Report signed by

Defendant Sewing. The Non-Financial Report 2018 represented that the Bank’s “KYC is an

ongoing process throughout the life cycle of a client relationship . . . As part of our regular client

due diligence, we screen our relationships against internal and external criteria, e.g. relating to

Politically Exposed Persons (PEPs), terrorism, or sanctions.”

       164.    The statements in the paragraph above were materially false and misleading when

made because, in reality, Deutsche Bank was not conducting any client due diligence for high-net-

worth individuals and entities, let alone “regular” client due diligence. What’s more, it was


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designating PEPs as “Honorary” PEPs exempt from any meaningful due diligence, and it was

enabling high-net-worth clients to commit crimes using the Bank’s facilities.

       165.    The statements in the paragraph above were also repeated in Deutsche Bank’s

Annual Financial Statements and Management Report of Deutsche Bank AG 2018, published on

Deutsche Bank’s official website on or around March 15, 2019, and signed, among others, by

Defendant Sewing.

       166.    Those statements were false and misleading when made for the reasons described

in the paragraph 164 above.

       167.    On or around March 21, 2019, Deutsche Bank published on its official website its

Annual Report 2018, representing that “We are exiting client relationships where we consider . . .

risks to be too high while also strengthening our client on-boarding and know-your-client (KYC)

procedures.” The report was signed by, among others, Defendant Sewing.

       168.    The statements in the paragraph above were false and misleading when made

because Deutsche Bank was not, in reality, exiting high-risk relationships and was not, in reality,

strengthening its client onboarding and KYC procedures. To the contrary, for high-net-worth

clients, Deutsche Bank was making exceptions, disregarding the high-risk nature of the

relationships and the attending reputational and financial crime risks, in order to extract profits.

Deutsche Bank was onboarding and servicing high-net-worth clients without any real due

diligence, enabling their criminal activities to continue.

       169.    On March 22, 2019, Deutsche Bank filed an annual report on Form 20-F with the

SEC, reporting the Bank’s financial and operating results for the quarter and year ended December

31, 2018 (the “2018 20-F”). The 2018 20-F contained a signed Sarbanes Oxley certification by,

among others, Defendant Sewing.




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       170.    The 2018 20-F contained the following statements concerning the Bank’s KYC

procedures:

       We are exiting client relationships where we consider returns to be too low or risks
       to be too high while also strengthening our client on-boarding and know-your-client
       (KYC) procedures.

       171.    The statements in the paragraph above were false and misleading when made

because Deutsche Bank was not, in reality, exiting high-risk relationships and was not, in reality,

strengthening its client onboarding and KYC procedures. To the contrary, for high-net-worth

clients, Deutsche Bank was making exceptions, disregarding the high-risk nature of the

relationships and the attending reputational and financial crime risks, in order to extract profits.

Deutsche Bank was onboarding and servicing high-net-worth clients without any real due

diligence, enabling their criminal activities to continue.

       172.    On or around July 2, 2019 and September 30, 2019, Deutsche Bank also posted on

its official website the following statements concerning the Bank’s KYC procedures:

       Compliance: Conformity with the law and adherence to regulations and standards.
       How we assess and accept clients: We have developed effective procedures for
       assessing clients (Know Your Customer or KYC) and a process for accepting new
       clients in order to facilitate comprehensive compliance. Furthermore they help us
       to minimize risks relating to money laundering, financing of terrorism and other
       economic crime. Our KYC procedures start with intensive checks before accepting
       a client and continue in the form of regular reviews. Our procedures apply not only
       to individuals and corporations that are or may become our direct business partners,
       but also to people and entities that stand behind them or are indirectly linked to
       them.

       173.    The statements in the paragraph above were materially false and misleading when

made, or omitted to state material facts necessary to make the statements not misleading, because

the statements failed to disclose, among other things, that the Bank was not conducting due

diligence on high-net-worth clients, and there were no “intensive checks” before accepting such

clients or during the duration of their relationship with Deutsche Bank. Far from “minimiz[ing]



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risks” related to money laundering, financing of terrorism, or other crimes, Deutsche Bank was

facilitating such crimes by lending money, holding and servicing the accounts, and providing

trading services to unsavory clients engaged in criminal activities.

       174.    On or about July 10, 2019 and September 27, 2019, Deutsche Bank posted on its

official website the following representations:

       DB has developed and implemented a comprehensive set of measures to identify,
       manage and control its AML risk. These measures are: A robust and strict KYC
       program.

       6.3. KYC Program
       DB has implemented a strict group-wide KYC program to ensure all kinds of
       customers (natural or legal persons or legal structures, correspondent banks) are
       subject to adequate identification, risk rating and monitoring measures. This
       program has been implemented globally and throughout all business divisions.
       KYC includes not only knowing the clients and entities the Bank deals with (either
       as a single transaction or ongoing relationship), or renders services to, but also the
       Ultimate Beneficial Owners (UBOs), Legal Representatives and Authorised
       Signatories as appropriate. The program includes strict identification requirements,
       name screening procedures and the ongoing monitoring and regular review of all
       existing business relationships. Special safeguards are implemented for business
       relationships with politically exposed persons (PEPs) and clients from countries or
       industries deemed high risk.

       175.    The statements in the paragraph above were materially false and misleading when

made because Deutsche Bank did not, in fact, have a “robust and strict KYC program” to ensure

“all kinds of customers . . . are subject to adequate identification, risk rating and monitoring

measures” and Deutsche Bank did not, in fact, subject its high-net-worth clients to “strict

identification requirements, name screening procedures and the ongoing monitoring and regular

review of all existing relationships.” Far from applying such “strict” processes, Deutsche Bank

had relaxed all KYC procedures for its high-net-worth clients. There were, in reality, no “special

safeguards” implemented for PEPs.




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       D.      The 2020 Statements

       176.    On or about March 13, 2020, Deutsche Bank published on its official website its

Non-Financial Report 2019, as a supplement to the Bank’s 2019 Annual Report signed by

Defendant Sewing. The Non-Financial Report 2019 represented that “Know Your Client (KYC)

is an ongoing process throughout the life cycle of a client relationship . . . As part of its regular

client due diligence, Deutsche Bank screens its client relationships against internal and external

criteria, for instance relating to politically exposed persons, terrorism, or sanctions . . . payments

are screened prior to being made.”

       177.    The statements referenced in the paragraph above were materially false and

misleading when made because Deutsche Bank was not, in fact, conducting any due diligence, let

alone “regular due diligence” for its high-net-worth clients and/or PEPs, and it was not, in fact,

screening payments before they were made.

                           LOSS CAUSATION/ECONOMIC LOSS

       178.    During the Class Period, as detailed above, Deutsche Bank and the Individual

Defendants made false and misleading statements and engaged in a scheme to deceive the market

and a course of conduct that artificially inflated the prices of Deutsche Bank’s securities and

operated as a fraud or deceit on Class Period purchasers of Deutsche Bank securities, by

misrepresenting the Bank’s KYC procedures—a critical component of the Bank’s AML processes.

Later, when Defendants’ prior misrepresentations and fraudulent conduct became known to the

market, the price of Deutsche Bank’s securities declined as the prior artificial inflation came out

of the price over time. As a result of their purchases of Deutsche Bank securities during the Class

Period, Plaintiffs and other members of the Class suffered economic loss, i.e., damages, under the

federal securities laws.




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       179.    On May 13, 2020, German newspaper Sueddeutsche Zeitung reported that the

Federal Reserve had sharply criticized Deutsche Bank’s U.S. operations in an internal audit. The

audit reportedly found that Deutsche Bank had failed to address multiple concerns identified years

earlier, including concerns related to the Bank’s AML and other control procedures. For example,

U.S. media outlets, citing Sueddeutsche Zeitung, reported that, in late March, the Federal Reserve

had sent an audit report to Defendant Sewing and other top executives “expressing continued

dissatisfaction” with Deutsche Bank’s AML controls and liquidity management at its U.S. unit,

which was reportedly “based on investigations in late 2019 and early 2020.”

       180.    On this news, the value of Deutsche Bank’s ordinary shares fell $0.31 per share, or

4.49%, to close at $6.60 per share on May 13, 2020.

       181.    On June 24, 2020, the Financial Times published an article entitled “Wirecard

Founder Braun Arrested on Suspicion of False Accounting.” The Financial Times article reported

that Deutsche Bank’s client Markus Braun, Wirecard’s CEO and CTO, “was arrested on suspicion

of false accounting and market manipulation days after the company he built into Europe’s leading

fintech admitted that €1.9bn of cash reported on its balance sheet probably does ‘not exist.’ Shares

in Wirecard have fallen more than 80 percent since last week, when the company revealed that the

cash was missing.” The article also reported that “Mr. Braun in late 2017 had borrowed €150m

from Deutsche Bank, pledging his shares as collateral for a margin loan.”

       182.    On this news, the value of Deutsche Bank’s securities fell $0.43 per share, or

4.50%, to close at $9.12 per share on June 24, 2020.

       183.    On June 26, 2020, Bloomberg Law published an article entitled “Deutsche Bank

Accounting Head Is Aim of Wirecard Complaint.” Discussing Deutsche Bank’s controversial hire,

Andreas Loetscher, the Bloomberg Law article reported, in relevant part:




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       Deutsche Bank AG’s top accounting executive, Andreas Loetscher, and two ex-
       colleagues at his former firm Ernst & Young were targeted in a criminal complaint
       by a German retail investor association for their alleged role in the accounting
       scandal at Wirecard AG.

       The SdK association filed the claim against two unnamed current partners of EY -
       - which also audits Deutsche Bank’s accounts -- and one former partner because of
       “the events around Wirecard,” according to a statement on Friday. That ex-partner
       is Loetscher, a person familiar with the matter said. Loetscher, a two-decade veteran
       at the accounting firm, oversaw the Wirecard audits for the financial years 2015
       through 2017, filings show. He left in 2018 to become chief accounting officer at
       Deutsche Bank, taking over after the bank struggled for years with legal and
       regulatory mishaps.

       Loetscher is just one link between Wirecard and Deutsche Bank. Germany’s largest
       lender has loaned money to both Wirecard and Braun [Markus Braun, former
       Wirecard CEO and CTO, until his arrest in June 2020] and it also served as global
       coordinator on the company’s bond issue last year. The bank also led on its share
       sale in 2014. DWS, Deutsche Bank’s asset-management unit, was briefly one of
       Wirecard’s biggest shareholders earlier this year.

       Braun has served one of the bank’s regional advisory boards. Wirecard even toyed
       with a tie-up with Deutsche Bank and approached the lender with the idea, people
       familiar with the matter previously said.

       184.    On this news, the value of Deutsche Bank’s ordinary shares fell $0.57 per share, or

5.96%, to close at $9.00 per share on June 26, 2020.

       185.    On July 7, 2020, the Department of Financial Services fined the Bank $150 million

for neglecting to flag numerous questionable transactions from accounts associated with Epstein

and two correspondent banks, Danske Estonia and FBME Bank, which were both the subject of

prior scandals involving financial misconduct.

       186.    For example, a Law360 article published the same day, entitled “Deutsche Bank

Fined $150M For Epstein, Partner Bank Lapses,” stated, in relevant part, that “New York state’s

financial regulator . . . fined Deutsche Bank $150 million for failing to appropriately manage its

dealings with alleged bad actors including millionaire sex offender Jeffrey Epstein,” and that,

“[a]ccording to the terms of a consent order with the [DFS], Deutsche Bank AG, its New York



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branch and Deutsche Bank Trust Company America agreed to pay the sum in connection with

DFS claims that the bank neglected to flag numerous questionable transactions from accounts

associated with Epstein and two correspondent banks, Danske Estonia and FBME Bank.”

       187.    With specific respect to Deutsche Bank’s failure to appropriately monitor

transactions related to Epstein, the Law360 article reported, in relevant part:

       According to the DFS, Deutsche bank “processed hundreds of transactions totaling
       millions of dollars that, at the very least, should have prompted additional scrutiny
       in light of Mr. Epstein’s history.”

       Those transactions included payments to Epstein associates who were “publicly
       alleged” to have played roles in luring Epstein’s victims, more than $7 million in
       settlement payments and $6 million in legal fees, more than $800,000 in cash
       withdrawals and “(consistent with public allegations of prior wrongdoing)
       payments directly to numerous women with Eastern European surnames.”

                                               ***

       “Throughout the relationship, very few problematic transactions were ever
       questioned, and even when they were, they were usually cleared without
       satisfactory explanation,” the regulator said Tuesday.

                                                ***

       The DFS’ announcement comes on the heels of the arrest last week in New
       Hampshire of Epstein associate and alleged “fixer” Ghislaine Maxwell, who was
       charged by federal prosecutors in connection with her alleged actions on behalf of
       the financier and was removed to stand trial in New York. And the announcement
       occurs nearly a year after Epstein committed suicide in a federal jail in Manhattan
       as he awaited trial following his arrest in Florida on sex trafficking charges.

       188.    The Law360 article also quoted the DFS’s Superintendent of Financial Services,

Linda A. Lacewell (“Lacewell”), who stated that “in each of the cases that are being resolved

today, Deutsche Bank failed to adequately monitor the activity of customers that the bank itself

deemed to be high risk.” Lacewell further stated that “[i]n the case of Jeffrey Epstein in particular,

despite knowing Mr. Epstein’s terrible criminal history, the bank inexcusably failed to detect or

prevent millions of dollars of suspicious transactions.”



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       189.    On this news, the value of Deutsche Bank’s ordinary shares fell $0.13 per share, or

1.31%, to close at $9.82 per share on July 7, 2020.

       190.    On July 9, 2020, Bloomberg Law published an article entitled “JPMorgan Dropped

Accounts That Became Bad News for Deutsche Bank.” The Bloomberg Law article reported that

JPMorgan distanced itself from “the trio of clients that got Deutsche Bank AG in regulatory trouble

this week” as early as 2009. The article stated that JPMorgan “stepped away from handling money

for FBME in 2009” and that it distanced itself from Epstein and Danske Bank A/S “around 2013.”

       191.    Discussing Deutsche Bank’s relationships with Danske Bank and FBME, the

Bloomberg Law article reported, in relevant part:

       JPMorgan stopped providing the [Danske Bank] Estonia unit access to the U.S.
       financial system in 2013, citing the high percentage of client accounts domiciled
       outside the Baltic country. Deutsche Bank continued providing banking services to
       Danske for another two years.
                                             ***

       JPMorgan started doing business with FBME in the early 2000s and quickly grew
       frustrated with its failure to fully explain certain transactions, according to
       documents reviewed by Bloomberg News. The banking giant was also wary of
       other practices at FBME, such as offering “hold mail” services, in which a bank
       allows clients to use the bank’s address to limit paper trails, according to those
       documents. Deutsche Bank provided banking services to FBME for five years after
       JPMorgan stopped, processing some $618 billion in all.

       192.    On this news, the value of Deutsche Bank’s ordinary shares fell $0.28 per share, or

2.80%, to close at $9.72 per share on July 9, 2020.

       193.    On July 13, 2020, the New York Times published an article entitled “These Are the

Deutsche Bank Executives Responsible for Serving Jeffrey Epstein.” The New York Times article

identified “nearly every person anonymously described” in the New York State Department of

Financial Services’ Consent Order “that omitted the executives’ and bankers’ names.” The article

stated: “At least one high-ranking executive remains in her position: Jan Ford, the bank’s head of




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compliance in the Americas.” The article identified Paul Morris (described in the Consent Order

as “RELATIONSHIP MANAGER-1”) and Charles Packard, then Co-Head of the Wealth

Management division (described in the Consent Order as “EXECUTIVE-1”).                    Based on

descriptions of the employees in the Consent Order and interviews with current and former

Deutsche Bank officials, the New York Times also identified other top executives who participated

in the January 30, 2015 ARRC meeting and decided to continue conducting business with Epstein:

Stuart Clarke, Chief Operating Officer for the Americas and General Manager of Deutsche Bank’s

New York branch and a member of the Regional Executive Committee and Jan Ford, a Managing

Director and Deutsche Bank Americas Head of Compliance and a member of the North America

Executive Committee and the Global Compliance Executive Committee.

       194.    Also on July 13, 2020, Bloomberg reported that Deutsche Bank’s legal risks in the

U.S. include potential money-laundering breaches, with a Justice Department probe that may result

in fines, despite penalties paid to other agencies over Russia mirror trades, Danske Bank and

Jeffrey Epstein.

       195.    On this news, the value of Deutsche Bank’s ordinary shares fell $0.37 per share, or

3.66%, to close at $9.73 per share on July 13, 2020.

       196.    On July 28, 2020, ABC News reported that Denise N. George, the U.S. Virgin

Islands Attorney General, subpoenaed Deutsche Bank for account records, transaction details and

communications concerning Epstein, his estate, and more than 30 corporations, trusts and

nonprofit entities connected to him. George filed a civil forfeiture lawsuit against Epstein’s estate

in January 2020, which alleged that Jeffrey Epstein trafficked girls to the U.S. Virgin Islands, as

recently as 2018.




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       197.     On this news, the value of Deutsche Bank’s ordinary shares fell $0.1 per share, or

1.05%, to close at $9.45 per share on July 28, 2020.

       198.     On September 9, 2020, Law360 published an article entitled “Deutsche Bank to Pay

$583K to End Ukraine Sanctions Probe.” The article attached an Enforcement Release from the

U.S. Department of Treasury, disclosing that Deutsche Bank Trust Company Americas violated

Ukraine-related sanctions regulations when, without conducting appropriate due diligence, it

processed a multi-million dollar transaction that involved IPP Oil Products (Cyprus) Ltd., an entity

on the Office of Foreign Assets Control’s list of Specially Designated Nationals and Blocked

Persons.

       199.     On this news, the value of Deutsche Bank’s ordinary shares fell $0.07 per share, or

0.74%, to close at $9.35 per share on September 10, 2020.

       200.     On September 20, 2020, BuzzFeed News published an article entitled “Deutsche

Bank Execs Missed Money Laundering Red Flags.” Citing an extensive review of “closely held

US Treasury documents” as well as “confidential bank documents,” BuzzFeed reported, inter alia,

“that Deutsche managers, including top executives, had direct knowledge for years of serious

failings that left the bank vulnerable to money launderers” and characterized the Bank’s conduct

as “let[ting] dirty clients run rampant.”

       201.     On this news, the value of Deutsche Bank’s ordinary shares fell $0.75 per share, or

8.25%, to close at $8.34 per share on September 21, 2020.

       202.     On September 22, 2020, Bloomberg Law published an article entitled “Singapore,

Hong Kong Top Asia Destinations for Suspect Funds.” The article reported that Singapore and

Hong Kong were the biggest destinations for suspect transactions in Asia and that Deutsche Bank

processed suspicious transactions in Hong Kong:




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       Singapore processed $4.4 billion in suspicious flows through banks, including DBS
       Group Holdings Ltd., Oversea-Chinese Banking Corp. and United Overseas Bank
       Ltd., the International Consortium of Investigative Journalists said in an
       investigation published Sunday. Some $4.1 billion was handled in Hong Kong by
       lenders including HSBC Holdings Plc and Deutsche Bank AG, it said. The banks
       involved in the transactions are among global firms that profited from “powerful
       and dangerous players” even after the U.S. imposed penalties on the institutions,
       the report said.

       203.      On this news, the value of Deutsche Bank’s ordinary shares fell $0.2 per share, or

2.4%, to close at $8.14 per share on September 22, 2020.

       204.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Bank’s securities, Plaintiffs and other class members have suffered

significant losses and damages.

  APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD ON THE MARKET

       205.      Plaintiffs will rely upon the presumption of reliance established by the fraud-on-

the- market doctrine in that, among other things:

                 (a) Defendants made public misrepresentations or failed to disclose material facts

        during the Class Period;

                 (b) the omissions and misrepresentations were material;

                 (c) the Bank’s stock traded in an efficient market;

                 (d) the misrepresentations alleged would tend to induce a reasonable investor to

        misjudge the value of the Bank’s stock; and

                 (e) Plaintiffs and other members of the Class purchased the Bank’s securities

        between the time Defendants misrepresented or failed to disclose material facts and the

        time the true facts were disclosed, without knowledge of the misrepresented or omitted

        facts.




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       206.    At all relevant times, the markets for the Bank’s securities were efficient for the

following reasons, among others:

               (a) as a regulated issuer, Deutsche Bank filed periodic public reports with the SEC;

               (b) Deutsche Bank regularly communicated with public investors via established

        market communication mechanisms;

               (c) Deutsche Bank was followed by several securities analysts employed by major

        brokerage firm(s) who wrote reports that were distributed to the sales force and certain

        customers of their respective brokerage firm(s) and that were publicly available and

        entered the public marketplace; and

               (d) Deutsche Bank’s common stock was actively traded in an efficient market,

        namely the NYSE, under the ticker symbol “DB.”

       207.    As a result of the foregoing, the market for Deutsche Bank securities promptly

digested current information regarding the Bank from publicly available sources and reflected such

information in the prices of Deutsche Bank’s securities. Under these circumstances, all purchasers

of Deutsche Bank securities during the Class Period suffered similar injury through their purchase

of Deutsche Bank securities at artificially inflated prices and the presumption of reliance applies.

       208.    Further, to the extent that the Defendants concealed or improperly failed to disclose

material facts with regard to the Bank, Plaintiffs are entitled to a presumption of reliance in

accordance with Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128, 153 (1972).

                                      NO SAFE HARBOR

       209.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and




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conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer or top

management of Deutsche Bank who knew that the statement was false when made.

                               CLASS ACTION ALLEGATIONS

       210.    Plaintiffs bring this action as a class action, pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Deutsche Bank securities during the Class Period (the “Class”); and were damaged upon

the revelation of the alleged corrective disclosures. Excluded from the Class are Defendants

herein, the officers and directors of the Bank, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assignees and any entity in which

Defendants have or had a controlling interest.

       211.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Deutsche Bank securities were actively traded on the

NYSE. While the exact number of Class members is unknown to Plaintiffs at this time and can be

ascertained only through appropriate discovery, Plaintiffs believe that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may




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be identified from records maintained by Deutsche Bank or its transfer agent and may be notified

of the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        212.    Plaintiffs’ claims are typical of the claims of the members of the Class, as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        213.    Plaintiffs will fairly and adequately protect the interests of the members of the Class

and have retained counsel competent and experienced in class and securities litigation. Plaintiffs

have no interests antagonistic to or in conflict with those of the Class.

        214.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                 whether the federal securities laws were violated by Defendants’ acts as alleged
                  herein;

                 whether statements made by Defendants to the investing public during the Class
                  Period misrepresented material facts about the business, operations and
                  management of Deutsche Bank;

                 whether the Individual Defendants caused Deutsche Bank to issue false and
                  misleading financial statements during the Class Period;

                 whether Defendants acted knowingly or recklessly in issuing false and misleading
                  financial statements;

                 whether the prices of Deutsche Bank securities during the Class Period were
                  artificially inflated because of the Defendants’ conduct complained of herein; and

                 whether the members of the Class have sustained damages and, if so, what is the
                  proper measure of damages.

        215.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy, since joinder of all members is impracticable. Furthermore, as


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the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually redress

the wrongs done to them. There will be no difficulty in the management of this action as a class

action.

          216.   Plaintiffs will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

                 Defendants made public misrepresentations or failed to disclose material facts
                  during the Class Period;

                 the omissions and misrepresentations were material;

                 Deutsche Bank securities are traded in an efficient market;

                 the Bank’s shares were liquid and traded with moderate to heavy volume during
                  the Class Period;

                 the Bank traded on the NYSE and was covered by multiple analysts;

                 the misrepresentations and omissions alleged would tend to induce a reasonable
                  investor to misjudge the value of the Bank’s securities; and

                 Plaintiffs and members of the Class purchased, acquired and/or sold Deutsche
                  Bank securities between the time the Defendants failed to disclose or
                  misrepresented material facts and the time the true facts were disclosed, without
                  knowledge of the omitted or misrepresented facts.

          217.   Based upon the foregoing, Plaintiffs and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

          218.   Alternatively, Plaintiffs and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of

Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements, in violation of a duty to disclose such information, as

detailed above.




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                                             COUNT I

(Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        219.    Plaintiffs repeat and re-allege each and every allegation contained above as if fully

set forth herein.

        220.    This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        221.    During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiffs and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiffs and other Class

members, as alleged herein; (ii) artificially inflate and maintain the market price of Deutsche Bank

securities; and (iii) cause Plaintiffs and other members of the Class to purchase or otherwise

acquire Deutsche Bank securities and options at artificially inflated prices. In furtherance of this

unlawful scheme, plan and course of conduct, Defendants, and each of them, took the actions set

forth herein.

        222.    Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to



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influence the market for Deutsche Bank securities. Such reports, filings, releases and statements

were materially false and misleading in that they failed to disclose material adverse information

and misrepresented the truth about Deutsche Bank’s finances and business prospects.

       223.    By virtue of their positions at Deutsche Bank, Defendants had actual knowledge of

the materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiffs and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth, in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.

       224.    Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Deutsche Bank, the Individual Defendants had knowledge of the details of

Deutsche Bank’s internal affairs.

       225.    The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.     Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Deutsche Bank.      As officers and/or directors of a publicly-held company, the Individual

Defendants had a duty to disseminate timely, accurate, and truthful information with respect to

Deutsche Bank’s KYC processes. As a result of the dissemination of the aforementioned false and

misleading statements, the market price of Deutsche Bank securities was artificially inflated




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throughout the Class Period. In ignorance of the adverse facts concerning Deutsche Bank’s actual

KYC processes, which were concealed by Defendants, Plaintiffs and the other members of the

Class purchased or otherwise acquired Deutsche Bank securities at artificially inflated prices and

relied upon the price of the securities, the integrity of the market for the securities and/or upon

statements disseminated by Defendants, and were damaged thereby.

       226.    During the Class Period, Deutsche Bank securities were traded on an active and

efficient market. Plaintiffs and the other members of the Class, relying on the materially false and

misleading statements described herein, which the Defendants made, issued or caused to be

disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

of Deutsche Bank securities at prices artificially inflated by Defendants’ wrongful conduct. Had

Plaintiffs and the other members of the Class known the truth, they would not have purchased or

otherwise acquired said securities, or would not have purchased or otherwise acquired them at the

inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiffs and

the Class, the true value of Deutsche Bank securities was substantially lower than the prices paid

by Plaintiffs and the other members of the Class. The market price of Deutsche Bank securities

declined sharply upon public disclosure of the facts alleged herein to the injury of Plaintiffs and

Class members.

       227.    By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

       228.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

the other members of the Class suffered damages in connection with their respective purchases,




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acquisitions and sales of the Bank’s securities during the Class Period, upon the disclosure that the

Bank had made misrepresentations and omissions to the investing public.

                                          COUNT II
    (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)

        229.    Plaintiffs repeat and re-allege each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

        230.    During the Class Period, the Individual Defendants participated in the operation

and management of Deutsche Bank, and conducted and participated, directly and indirectly, in the

conduct of Deutsche Bank’s business affairs, including the onboarding and retention of high-risk-

clients. Because of their senior positions, they knew the adverse non-public information about

Deutsche Bank’s misstatements and omissions.

        231.    As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate, complete, and truthful information with respect to

Deutsche Bank’s KYC processes, and to correct promptly any public statements issued by

Deutsche Bank which had become materially false or misleading.

        232.    Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which Deutsche Bank disseminated in the marketplace during the Class Period

concerning Deutsche Bank’s KYC processes.             Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause Deutsche Bank to engage in the wrongful

acts complained of herein. The Individual Defendants therefore, were “controlling persons” of

Deutsche Bank within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged, which artificially inflated the market price of

Deutsche Bank securities.



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       233.    Each of the Individual Defendants, therefore, acted as a controlling person of

Deutsche Bank. By reason of their senior management positions and/or being members of the

Management Board of Deutsche Bank, each of the Individual Defendants had the power to direct

the actions of, and exercised the same, to cause Deutsche Bank to engage in the unlawful acts and

conduct complained of herein. Each of the Individual Defendants exercised control over the

general operations of Deutsche Bank and possessed the power to control the specific activities that

comprise the primary violations about which Plaintiffs and the other members of the Class

complain.

       234.    By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Deutsche Bank.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiffs as the Class representatives;

       B.      Requiring Defendants to pay damages sustained by Plaintiffs and the Class by

reason of the acts and transactions alleged herein;

       C.      Awarding Plaintiffs and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiffs hereby demand a trial by jury.

Dated: June 30, 2022                                    Respectfully submitted,

                                                        POMERANTZ LLP

                                                        /s/ Emma Gilmore


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